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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI DIVISION

                                 Case No.: _________________


   GOVERNMENT EMPLOYEES INSURANCE
   CO., GEICO INDEMNITY CO., GEICO
   GENERAL INSURANCE COMPANY and
   GEICO CASUALTY CO.,
                                                               Jury Trial Demanded
           Plaintiffs,
   vs.

   GILBERTO SECO, M.D., MED-UNION
   MEDICAL CENTER, INC., JORGE A.
   GONZALEZ, ALIUSKA AMIGO, L.M.T.,
   SHINUET CABRERA, SERGIO VENTO
   ANGARICA, JULIO CESAR PELAEZ, F.N.P.,
   LEANNE     TRIGOURA,     F.N.P.,   NEW
   GENERATION REHABILITATION CENTER
   INC, BRYAN ABREU, ORLANDO E. LEIVA,
   M.D., PREMIUM MEDICAL CENTER CORP,
   MABEL GUTIERREZ CONCEPCION, L.M.T.,
   OMNIA       FERNANDEZ,          A.G.N.P.,
   GONZALEZ’S MEDICAL CENTER, INC,
   JOSE J. GONZALEZ, WILFREDO BLASINI,
   M.D., ROSALVA ZEGARRA, P.A., FELIPE
   DELGADO, L.M.T., and GISELA CATALINA
   DE VALLE, L.M.T.,

          Defendants.
   ______________________________________/

                                         COMPLAINT

         Plaintiffs, Government Employees Insurance Co., GEICO Indemnity Co., GEICO General

  Insurance Company and GEICO Casualty Co. (collectively “GEICO” or “Plaintiffs”), sue

  Defendants and allege as follows:

         1.      This action seeks to recover more than $4,015,000.00 that Defendants wrongfully

  obtained from GEICO by submitting, and causing to be submitted, thousands of fraudulent no-
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  fault (“no-fault”, “personal injury protection”, or “PIP”) insurance charges through Defendants

  Med-Union Medical Center, Inc. (“Med-Union Medical”), New Generation Rehabilitation Inc

  (“New Generation Rehab”), Premium Medical Center Corp (“Premium Medical”), and Gonzalez’s

  Medical Center, Inc (“Gonzalez’s Medical”) (collectively the “Clinic Defendants”), relating to

  medically unnecessary, illusory, unlawful, and otherwise non-reimbursable health care services,

  including putative initial examinations, follow up examinations, and physical therapy services

  (collectively the “Fraudulent Services”), that purportedly were provided to Florida automobile

  accident victims (“Insureds”) who were eligible for coverage under GEICO no-fault insurance

  policies. In addition, GEICO seeks a declaration that it is not legally obligated to pay

  reimbursement of pending, fraudulent no-fault insurance claims that Defendants have submitted

  or caused to be submitted through the respective Clinic Defendants, because of the fraudulent and

  unlawful activity set forth herein.

         2.      Each and every charge submitted through the respective Clinic Defendants since at

  least 2014 has been fraudulent and unlawful for the reasons set forth herein. The charts annexed

  hereto as Exhibits “1” – “4” set forth a large and representative sample of the fraudulent and

  unlawful claims that have been identified to date that have been submitted to GEICO by mail

  through the respective Clinic Defendants. Defendants’ interrelated fraudulent schemes began no

  later than 2014 and have continued uninterrupted since that time.

                                          THE PARTIES

         3.      Plaintiffs Government Employees Insurance Co., GEICO Indemnity Co., GEICO

  General Insurance Company and GEICO Casualty Co. (collectively, “GEICO”) are Nebraska

  corporations with their principal places of business in Chevy Chase, Maryland. GEICO is

  authorized to conduct business and to issue automobile insurance policies in Florida.




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        4.           The Defendants are as follows:

             (i)      Defendant Gilberto Seco, M.D. (“Seco”) resides in and is a citizen of Florida.
                      Seco was licensed to practice medicine in Florida on August 14, 1992. Seco
                      falsely purported to serve as medical director at Med-Union Medical, New
                      Generation Rehab, and Premium Medical, and purported to perform or directly
                      supervise the substantial majority of the Fraudulent Services on behalf of all of
                      the Clinic Defendants.

             (ii)     Defendant Med-Union Medical is a Florida corporation with its principal place
                      of business in Miami, Florida. At all relevant times, Med-Union Medical falsely
                      purported to be a properly-licensed health care clinic that operated in compliance
                      with the licensing requirements set forth in the Florida Health Care Clinic Act (the
                      “Clinic Act”, Fla. Stat. § 400.990 et seq.). Med-Union Medical was incorporated
                      in Florida on or about June 24, 2003 and purported to be owned and controlled
                      by Defendants Jorge A. Gonzalez (“J.A. Gonzalez”) and Aliuska Amigo, L.M.T.
                      (“Amigo”) from at least 2014 until February 2016, J.A. Gonzalez until July 2017,
                      Shinuet Cabrera (“Cabrera”) until February 2020, and Sergio Vento Angarica
                      (“Angarica”) until the present day. Med-Union Medical falsely purported to have
                      Seco as its medical director until at least May 25, 2021 , and was used as a vehicle
                      to submit fraudulent no-fault insurance billing to GEICO and other insurers,
                      including billing for Fraudulent Services that purportedly were performed by
                      Defendants Seco, Julio Cesar Pelaez, F.N.P. (“Pelaez”), and Leanne Trigoura,
                      F.N.P. (“Trigoura”) (Defendants Med-Union Medical, J.A. Gonzalez, Amigo,
                      Cabrera, Angarica, Seco, Pelaez, and Trigoura collectively are referred to as the
                      “Med-Union Medical Defendants”).

             (iii)    Defendant New Generation Rehab is a Florida corporation with its principal place
                      of business in Miami, Florida. At all relevant times, New Generation Rehab
                      falsely purported to be a properly-licensed health care clinic that operated in
                      compliance with the licensing requirements set forth in the Clinic Act. New
                      Generation Rehab was incorporated in Florida on or about July 7, 2016, purported
                      to be owned and controlled by Defendant Bryan Abreu (“Abreu”), falsely
                      purported to have Seco as its medical director until at least May 25, 2021, and
                      was used as a vehicle to submit fraudulent no-fault insurance billing to GEICO
                      and other insurers, including billing for Fraudulent Services that purportedly were
                      performed by Defendants Seco and Orlando E. Leiva, M.D. (“Leiva”)
                      (Defendants New Generation Rehab, Abreu, Seco, and Leiva collectively are
                      referred to as the “New Generation Rehab Defendants”).

             (iv)     Defendant Premium Medical is a Florida corporation with its principal place of
                      business in Virginia Gardens, Florida. At all relevant times, Premium Medical
                      falsely purported to be a properly-licensed health care clinic that operated in
                      compliance with the licensing requirements set forth in the Clinic Act. Premium
                      Medical was incorporated in Florida on or about January 15, 2019, purported to
                      be owned and controlled by Defendant Mabel Gutierrez Concepcion, L.M.T.




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                      (“Gutierrez Concepcion”), falsely purported to have Seco as its medical director,
                      and was used as a vehicle to submit fraudulent no-fault insurance billing to
                      GEICO and other insurers, including billing for Fraudulent Services that
                      purportedly were performed by Defendants Seco, Omnia Fernandez, A.G.N.P.
                      (“Fernandez”), and Gutierrez Concepcion. (Defendants Premium Medical,
                      Gutierrez Concepcion, Seco, and Fernandez collectively are referred to as the
                      “Premium Medical Defendants”).

              (v)     Defendant Gonzalez’s Medical is a Florida corporation with its principal place of
                      business in Hialeah, Florida. At all relevant times, Gonzalez’s Medical falsely
                      purported to be a properly-licensed health care clinic that operated in compliance
                      with the licensing requirements set forth in the Clinic Act. Gonzalez’s Medical
                      was incorporated in Florida on or about April 10, 2012, purported to be owned
                      and controlled by Defendant Jose J. Gonzalez (“J.J. Gonzalez”), falsely purported
                      to have Wilfredo Blasini, M.D. (“Blasini”) as its medical director from March
                      2015 to September 2017, and was used as a vehicle to submit fraudulent no-fault
                      insurance billing to GEICO and other insurers, including billing for Fraudulent
                      Services that purportedly were performed by Defendants Seco, Rosalva Zegarra,
                      P.A. (“Zegarra”), Felipe Delgado, L.M.T. (“Delgado”), and Gisela Catalina De
                      Valle, L.M.T. (“De Valle”) (Defendants Gonzalez’s Medical, J.J. Gonzalez,
                      Seco, Zegarra, Delgado, and De Valle are referred to as the “Gonzalez’s Medical
                      Defendants”).

                        a. In February 2020, the Division of Investigative and Forensic Services,
                           Bureau of Insurance Fraud began an undercover investigation into
                           Gonzalez’s Medical after receiving several tips that Seco, J.J. Gonzalez, De
                           Valle, Delgado, and others were misleading and defrauding insurance
                           companies. The investigation revealed that J.J. Gonzalez paid undercover
                           participants $1,000.00 each to come to Gonzalez’s Medical and pretend to
                           receive treatment from Seco, De Valle, and Delgado. The undercover
                           participants also met with Seco, who told them what parts of their bodies
                           hurt and backdated prescriptions for physical therapy. As a result of this
                           undercover investigation, Seco, De Valle, and Delgado were all arrested on
                           May 26-27, 2021 and charged with Grand Theft in the 3rd Degree,
                           Organized Scheme to Defraud/Conspiracy in the 3rd Degree, and Insurance
                           Claims/False/Fraudulent in the 2nd Degree. J.J. Gonzalez was also arrested
                           on May 26, 2021 and charged with Grand Theft in the 2nd Degree, Oranized
                           Scheme to Defraud/Conspiracy in the 3rd Degree, Insurance
                           Claims/False/Fraud/Solicitation in the 3rd Degree, Patient Brokering in the
                           3rd Degree, and Money Laundering/Unlawful Proceeds in the 3rd Degree.

              (vi)    All of the natural person Defendants reside in and are citizens of Florida.

         5.          Although he is not named as a Defendant in this Complaint, Tony Nguyen, D.O.

  (“Nguyen”) is relevant to this action. Nguyen was licensed to practice medicine in Florida on July




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  18, 2017, and falsely purported to serve as medical director at Gonzalez’s Medical from September

  2017 to at least June 14, 2021.

         6.      Although they are not named as Defendants in this Complaint, Workers’ Rehab, Inc.

  (“Workers’ Rehab”), ALS Medical Group, Inc. (“ALS Medical”), Imagen Medical Center Inc

  (“Imagen Medical”), Guadalupana.CG Inc (“Guadalupana”), and GR Rehab Center, Inc (“GR

  Rehab”) are relevant to this action. All are Florida corporations where Seco purported to perform or

  directly supervise Fraudulent Services.

                                    JURISDICTION AND VENUE

         7.      This Court has jurisdiction over the subject matter of this action under 28 U.S.C. §

  1332(a)(1) because the total matter in controversy, exclusive of interest and costs, exceeds the

  jurisdictional threshold of $75,000.00, and is between citizens of different states. This Court also

  has original jurisdiction pursuant to 28 U.S.C. § 1331 over claims brought under 18 U.S.C. §§

  1961 et seq. (the Racketeer Influenced and Corrupt Organizations (“RICO”) ACT). In addition,

  this Court has supplemental jurisdiction over the subject matter of the claims asserted in this action

  pursuant to 28 U.S.C. § 1367.

         8.      Venue in this District is appropriate pursuant to 28 U.S.C. § 1391, as the Southern

  District of Florida is the District where one or more of Defendants reside and because this is the

  District where a substantial amount of the activities forming the basis of the Complaint occurred.

                                            ALLEGATIONS

  I.     Brief Overview of Pertinent Law Governing No-Fault Insurance Reimbursement

         9.      Florida requires automobile insurers to provide PIP insurance benefits (“PIP

  Benefits”) to Insureds when they are injured in a motor vehicle accident. See Florida Motor Vehicle

  No-Fault Law, Fla. Stat. §§ 627.730-627.7405 (the “No-Fault Law”).




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         10.     Under the No-Fault Law, a health care services provider who possesses an

  assignment of PIP Benefits from an Insured and who provides medically necessary health care

  services to an Insured may submit claims directly to an insurance company in order to receive

  payment for the medically necessary services, using the required claim forms, including the Health

  Care Financing Administration insurance claim form (known as the “HCFA-1500 form” or “CMS-

  1500” form).

         11.     In order for a health care service to be eligible for PIP reimbursement, it must be

  “lawfully” provided, medically necessary, and the bill for the service cannot misrepresent the nature,

  extent, or results of the service that was provided. Insurers such as GEICO are not required to pay

  anyone who knowingly submits a false or misleading statement relating to a PIP claim or charges.

  See Fla. Stat. § 627.736.

         12.     Additionally, in order for a health care service to be eligible for PIP reimbursement,

  the applicable claim form must set forth the professional license number of the provider who

  personally performs or directly supervises the underlying health care service, in the line or space

  provided for “Signature of Physician or Supplier, Including Degrees or Credentials.” See Fla. Stat.

  § 627.736.

         13.     In addition, the No-Fault Law prohibits PIP reimbursement for massage or for

  services provided by unsupervised massage therapists. See Fla. Stat. § 627.736.

         14.     Pursuant to the Clinic Act, health care clinics operating in Florida must – among

  other things – appoint a physician as a medical director who must “[c]onduct systematic reviews of

  clinic billings to ensure that the billings are not fraudulent or unlawful”, and take immediate

  corrective action upon discovery of a fraudulent or unlawful charge. See Fla. Stat. § 400.9935(1). In

  addition, a clinic medical director must “[e]nsure that all health care practitioners at the clinic have




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  active appropriate certification or licensure for the level of care being provided.” See Fla. Stat. §

  400.9935(1).

            15.   Pursuant to the Clinic Act, “[a] charge or reimbursement claim made by or on behalf

  of a clinic that is required to be licensed . . . but that is not so licensed, or that is otherwise operating

  in violation of this part . . . is an unlawful charge.” See Fla. Stat. § 400.9935(3).

  II.       Defendants’ Interrelated Fraudulent Schemes

  A.        The Fraudulent Operation of the Clinic Defendants Without Legitimate Medical
            Directors

            16.   Because the Clinic Defendants were subject to the Clinic Act, J.A. Gonzalez, Amigo,

  Cabrera, Angarica, Abreu, Gutierrez Concepcion, and J.J. Gonzalez (collectively the “Clinic Owner

  Defendants”) could not operate the respective Clinic Defendants unless licensed physicians were

  employed as the Clinic Defendants’ medical directors. However, if the Clinic Owner Defendants

  retained legitimate physicians to serve as the Clinic Defendants’ medical directors, any such

  legitimate physicians actually would be obligated to fulfill the statutory requirements applicable to

  a clinic medical director, which would impede the Defendants’ interrelated schemes, as described

  herein.

            17.    Accordingly, J.A. Gonzalez, Amigo, Cabrera, Angarica, Abreu, and Gutierrez

  Concepcion each retained Seco, a licensed physician who was willing – in exchange for

  compensation – to falsely pose as the legitimate medical director of Med-Union Medical, New

  Generation Rehab, and Premium Medical, respectively.

            18.   Similarly, J.J. Gonzalez retained Blasini and then Nguyen, licensed physicians who

  likewise were willing – in exchange for compensation – to falsely pose as the legitimate medical

  director of Gonzalez’s Medical.




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          19.     In exchange for compensation from the respective Clinic Defendants, Clinic Owner

  Defendants, and their associates, Seco, Blasini, and Nguyen agreed to falsely represent, to the

  Florida Agency for Health Care Administration, to the Insureds who sought treatment at the

  respective Clinic Defendants, and to the insurers including GEICO that received PIP claims from

  the Clinic Defendants, that they were the true medical directors at the respective Clinic Defendants,

  and that they truly fulfilled the statutory requirements applicable to clinic medical directors at the

  Clinic Defendants.

          20.     However, Seco never genuinely served as medical director for Med-Union Medical,

  New Generation Rehab, and Premium Medical.

          21.     Likewise, Blasini and Nguyen never genuinely served as medical director for

  Gonzalez’s Medical.

          22.     Instead, from the beginning of each of their associations with the respective Clinic

  Defendants, Seco, Blasini, and Nguyen ceded all day-to-day decision-making and oversight

  regarding healthcare services at the Clinic Defendants to the respective Clinic Owner Defendants

  and their associates.

          23.     As set forth herein, in keeping with the fact that Seco, Blasini, and Nguyen never

  legitimately served as medical directors at the respective Clinic Defendants, Seco, Blasini, and

  Nguyen: (i) never ensured that all health care practitioners at the respective Clinic Defendants had

  active appropriate certification or licensure for the level of care being provided; (ii) never

  conducted systematic reviews of the Clinic Defendants’ billings to ensure that the billings were

  not fraudulent or unlawful; and (iii) and never even made any attempt to discover the fraudulent

  and unlawful charges submitted through the Clinic Defendants, much less take any immediate

  corrective action. See Fla. Stat. § 400.9935(1).




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         24.     In further keeping with the fact that Seco never legitimately served as medical

  director at Med-Union Medical, New Generation Rehab, and Premium Medical, Seco

  simultaneously purported to personally perform, or at least directly supervise, a massive number

  of individual health care services for all the Clinic Defendants as well as other practices, typically

  at multiple locations each day.

         25.     It is impossible that Seco, who was in his 70s at the time, could have performed or

  directly supervised such a massive number of individual healthcare services while also fulfilling

  his medical director roles at Med-Union Medical, New Generation Rehab, and Premium Medical.

         26.     In keeping with the fact that Nguyen never legitimately served as medical director

  at Gonzalez’s Medical, Nguyen – in an August 2020 affidavit – swore, in substance, that he was

  typically present at Gonzalez’s Medical for only a few hours each month.

         27.     In his August 2020 affidavit, Nguyen also swore – in substance – that during his

  once-a-month visit to Gonzalez’s Medical he would review only a handful of patient charts, and

  that he had no idea whether the handful of patient charts he reviewed constituted any significant

  portion of the overall number of patients who were treated each month at Gonzalez’s Medical.

         28.     The Clinic Owner Defendants used the façade of Seco, Blasini, and Nguyen’s

  phony “appointments” as the respective Clinic Defendants’ ersatz “medical directors” to do

  indirectly what they were forbidden from doing directly – namely, and as set forth more fully

  herein: (i) to operate health care clinics without legitimate medical directors; (ii) to engage in

  unlicensed medical decision-making with respect to the Insureds who sought treatment at the

  Clinic Defendants; (iii) to permit health care services to be provided at the Clinic Defendants by

  individuals who lacked the proper licensure to perform the services; and (iv) to use the Clinic




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  Defendants as vehicles to submit a massive amount of fraudulent and unlawful PIP billing to

  GEICO and other insurers.

          29.    Seco, Blasini, and Nguyen unlawfully permitted the Clinic Owner Defendants to

  dictate every aspect of the manner in which Insureds would be treated at the respective Clinic

  Defendants, and to dictate every aspect of the manner in which health care services at the

  respective Clinic Defendants would be billed to GEICO and other insurers, because they sought to

  continue profiting from the fraudulent billing submitted through the Clinic Defendants.

  B.      The Fraudulent Misrepresentations Regarding the Identities of the Health Care
          Providers Rendering Services at the Clinic Defendants

          30.    The Defendants billed GEICO for a limited range of Fraudulent Services, namely

  purported: (i) initial patient examinations; (ii) follow-up patient examinations; and (iii) physical

  therapy services. As set forth in Exhibits “1” – “4”, the purported physical therapy services

  constituted the vast majority of the Fraudulent Services billed through each of the Clinic Defendants

  to GEICO.

          31.    All of the “physical therapy” services that Defendants purported to provide between

  at least 2014 and the present were performed – to the extent that they were performed at all – by

  completely unsupervised massage therapists or other unlicensed individuals, including Gutierrez

  Concepcion at Premium Medical and Delgado and De Valle at Gonzalez’s Medical.

          32.    These individuals – including Gutierrez Concepcion, Delgado, and De Valle

  (collectively the “Massage Therapist Defendants”) – were only licensed as massage therapists. The

  Massage Therapist Defendants and other unlicensed individuals were never licensed as physical

  therapists.

          33.    The Defendants were well-aware of the fact that the Clinic Defendants could not

  legally recover PIP Benefits for “physical therapy” or any other kinds of health care services




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  performed by unsupervised massage therapists such as the Massage Therapist Defendants, or other

  unlicensed and unsupervised individuals.

         34.     Accordingly, the Defendants falsely represented – in virtually all of the claims for

  “physical therapy” services that they submitted or caused to be submitted through the respective

  Clinic Defendants to GEICO – that Seco, a licensed physician, had either performed or supervised

  the putative physical therapy services.

         35.     In reality, Seco neither performed nor supervised any of the physical therapy services

  that were billed through the Clinic Defendants to GEICO.

         36.     In keeping with the fact that Seco neither performed nor directly supervised any of

  the physical therapy services that were billed through the Clinic Defendants to GEICO, Seco – who

  was in his 70s at the time – often purported to personally perform or directly supervise more than

  25, 30, or even 35 hours of “physical therapy” services for GEICO Insureds on individual dates,

  often at multiple Clinic Defendants, and multiple different locations, per day.

         37.     For example:

         (i)     On March 25, 2014, Med-Union Medical, J.A. Gonzalez, Amigo, and Seco
                 purported to provide at least 70 individual physical therapy services to at least seven
                 individual Insureds, and falsely contended in the resulting bills to GEICO that Seco
                 personally performed or at least directly supervised every one of those treatments.
                 What is more, those putative treatments included at least 12 hours of physical
                 therapy services that required direct, one-on-one patient contact between the
                 treating provider and the Insureds throughout the services. That same day, Seco
                 also purported to personally perform, or at least directly supervise at least 81
                 additional physical therapy services purportedly provided to at least 10 additional
                 GEICO Insureds at Gonzalez’s Medical, Workers Rehab, and ALS Medical,
                 including at least 15.5 hours of physical therapy services that required direct, one-
                 on-one patient contact between the treating provider and the Insureds throughout
                 the services. In all, GEICO received billing for at least 27.5 hours of services that
                 Seco purported to personally perform, or at least directly supervise, on March 25,
                 2014.

         (ii)    On November 6, 2014, Med-Union Medical, J.A. Gonzalez, Amigo, and Seco
                 purported to provide at least 74 individual physical therapy services to at least nine




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                individual Insureds, and falsely contended in the resulting bills to GEICO that Seco
                personally performed or at least directly supervised every one of those treatments.
                What is more, those putative treatments included at least 13.5 hours of physical
                therapy services that required direct, one-on-one patient contact between the
                treating provider and the Insureds throughout the services. That same day, Seco
                also purported to personally perform, or at least directly supervise at least 70
                additional physical therapy services purportedly provided to at least 10 additional
                GEICO Insureds at Gonzalez’s Medical, Imagen Medical, and Guadalupana,
                including at least 11 hours of physical therapy services that required direct, one-on-
                one patient contact between the treating provider and the Insureds throughout the
                services. In all, GEICO received billing for at least 24.5 hours of services that Seco
                purported to personally perform, or at least directly supervise, on November 6,
                2014.

        (iii)   On December 6, 2016, Med-Union Medical, J.A. Gonzalez, and Seco purported to
                provide at least 104 individual physical therapy services to at least 14 individual
                Insureds, and falsely contended in the resulting bills to GEICO that Seco personally
                performed or at least directly supervised every one of those treatments. What is
                more, those putative treatments included at least 18.25 hours of physical therapy
                services that required direct, one-on-one patient contact between the treating
                provider and the Insureds throughout the services. That same day, Seco also
                purported to personally perform, or at least directly supervise at least 67 additional
                physical therapy services purportedly provided to at least 10 additional GEICO
                Insureds at Gonzalez’s Medical and GR Rehab, including at least 11.75 hours of
                physical therapy services that required direct, one-on-one patient contact between
                the treating provider and the Insureds throughout the services. In all, GEICO
                received billing for at least 30 hours of services that Seco purported to personally
                perform, or at least directly supervise, on December 6, 2016.

        (iv)    On December 19, 2016, Gonzalez’s Medical, J.J. Gonzalez, Blasini, and Seco
                purported to provide at least 136 individual physical therapy services to at least 20
                individual Insureds, and falsely contended in the resulting bills to GEICO that Seco
                personally performed or at least directly supervised every one of those treatments.
                What is more, those putative treatments included at least 22 hours of physical
                therapy services that required direct, one-on-one patient contact between the
                treating provider and the Insureds throughout the services. That same day, Seco
                also purported to personally perform, or at least directly supervise at least 104
                additional physical therapy services purportedly provided to at least 14 additional
                GEICO Insureds at Med-Union Medical and GR Rehab, including at least 17.75
                hours of physical therapy services that required direct, one-on-one patient contact
                between the treating provider and the Insureds throughout the services. In all,
                GEICO received billing for at least 39.75 hours of services that Seco purported to
                personally perform, or at least directly supervise, on December 19, 2016.

        (v)     On January 3, 2017, Gonzalez’s Medical, J.J. Gonzalez, Blasini, and Seco
                purported to provide at least 120 individual physical therapy services to at least 18




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                individual Insureds, and falsely contended in the resulting bills to GEICO that Seco
                personally performed or at least directly supervised every one of those treatments.
                What is more, those putative treatments included at least 21.25 hours of physical
                therapy services that required direct, one-on-one patient contact between the
                treating provider and the Insureds throughout the services. That same day, Seco
                also purported to personally perform, or at least directly supervise at least 52
                additional physical therapy services purportedly provided to at least seven
                additional GEICO Insureds at Med-Union Medical and GR Rehab, including at
                least nine hours of physical therapy services that required direct, one-on-one patient
                contact between the treating provider and the Insureds throughout the services. In
                all, GEICO received billing for at least 30.25 hours of services that Seco purported
                to personally perform, or at least directly supervise, on January 3, 2017.

        (vi)    On November 30, 2017, Gonzalez’s Medical, J.J. Gonzalez, and Seco purported to
                provide at least 110 individual physical therapy services to at least 17 individual
                Insureds, and falsely contended in the resulting bills to GEICO that Seco personally
                performed or at least directly supervised every one of those treatments. What is
                more, those putative treatments included at least 18 hours of physical therapy
                services that required direct, one-on-one patient contact between the treating
                provider and the Insureds throughout the services. That same day, Seco also
                purported to personally perform, or at least directly supervise at least 53 additional
                physical therapy services purportedly provided to at least seven additional GEICO
                Insureds at Med-Union Medical and New Generation Rehab, including at least 4.5
                hours of physical therapy services that required direct, one-on-one patient contact
                between the treating provider and the Insureds throughout the services. In all,
                GEICO received billing for at least 22.5 hours of services that Seco purported to
                personally perform, or at least directly supervise, on January 30, 2018.

        (vii)   On December 7, 2017, Gonzalez’s Medical, Gonzalez, and Seco purported to
                provide at least 137 individual physical therapy services to at least 21 individual
                Insureds, and falsely contended in the resulting bills to GEICO that Seco personally
                performed or at least directly supervised every one of those treatments. What is
                more, those putative treatments included at least 22.25 hours of physical therapy
                services that required direct, one-on-one patient contact between the treating
                provider and the Insureds throughout the services. That same day, Seco also
                purported to personally perform, or at least directly supervise at least 80 additional
                physical therapy services purportedly provided to at least 10 additional GEICO
                Insureds at Med-Union Medical and New Generation Rehab, including at least
                13.25 hours of physical therapy services that required direct, one-on-one patient
                contact between the treating provider and the Insureds throughout the services. In
                all, GEICO received billing for at least 35.5 hours of services that Seco purported
                to personally perform, or at least directly supervise, on December 7, 2017.

        (viii) On January 30, 2018, Med-Union Medical, Cabrera, and Seco purported to provide
               at least 125 individual physical therapy services to at least 16 individual Insureds,
               and falsely contended in the resulting bills to GEICO that Seco personally




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               performed or at least directly supervised every one of those treatments. What is
               more, those putative treatments included at least 22.5 hours of physical therapy
               services that required direct, one-on-one patient contact between the treating
               provider and the Insureds throughout the services. That same day, Seco also
               purported to personally perform, or at least directly supervise at least 66 additional
               physical therapy services purportedly provided to at least 10 additional GEICO
               Insureds at Gonzalez’s Medical and New Generation Rehab, including at least
               11.75 hours of physical therapy services that required direct, one-on-one patient
               contact between the treating provider and the Insureds throughout the services. In
               all, GEICO received billing for at least 34 hours of services that Seco purported to
               personally perform, or at least directly supervise, on January 30, 2018.

        (ix)   On February 6, 2018, Med-Union Medical, Cabrera, and Seco purported to provide
               at least 124 individual physical therapy services to at least 15 individual Insureds,
               and falsely contended in the resulting bills to GEICO that Seco personally
               performed or at least directly supervised every one of those treatments. What is
               more, those putative treatments included at least 22.25 hours of physical therapy
               services that required direct, one-on-one patient contact between the treating
               provider and the Insureds throughout the services. That same day, Seco also
               purported to personally perform, or at least directly supervise at least 67 additional
               physical therapy services purportedly provided to at least 11 additional GEICO
               Insureds at Gonzalez’s Medical and New Generation Rehab, including at least
               11.25 hours of physical therapy services that required direct, one-on-one patient
               contact between the treating provider and the Insureds throughout the services. In
               all, GEICO received billing for at least 33.5 hours of services that Seco purported
               to personally perform, or at least directly supervise, on February 6, 2018.

        (x)    On October 16, 2018, Med-Union Medical, Cabrera, and Seco purported to provide
               at least 112 individual physical therapy services to at least 14 individual Insureds,
               and falsely contended in the resulting bills to GEICO that Seco personally
               performed or at least directly supervised every one of those treatments. What is
               more, those putative treatments included at least 19.75 hours of physical therapy
               services that required direct, one-on-one patient contact between the treating
               provider and the Insureds throughout the services. That same day, Seco also
               purported to personally perform, or at least directly supervise at least 64 additional
               physical therapy services purportedly provided to at least 10 additional GEICO
               Insureds at Gonzalez’s Medical and New Generation Rehab, including at least
               11.25 hours of physical therapy services that required direct, one-on-one patient
               contact between the treating provider and the Insureds throughout the services. In
               all, GEICO received billing for at least 31 hours of services that Seco purported to
               personally perform, or at least directly supervise, on October 16, 2018.

        (xi)   On November 14, 2018, New Generation Rehab, Abreu, and Seco purported to
               provide at least 67 individual physical therapy services to at least eight individual
               Insureds, and falsely contended in the resulting bills to GEICO that Seco personally
               performed or at least directly supervised every one of those treatments. What is




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                more, those putative treatments included at least 13 hours of physical therapy
                services that required direct, one-on-one patient contact between the treating
                provider and the Insureds throughout the services. That same day, Seco also
                purported to personally perform, or at least directly supervise at least 72 additional
                physical therapy services purportedly provided to at least 10 additional GEICO
                Insureds at Med-Union Medical and Gonzalez’s Medical, including at least 12.75
                hours of physical therapy services that required direct, one-on-one patient contact
                between the treating provider and the Insureds throughout the services. In all,
                GEICO received billing for at least 25.75 hours of services that Seco purported to
                personally perform, or at least directly supervise, on November 14, 2018.

        (xii)   On December 26, 2018, New Generation Rehab, Abreu, and Seco purported to
                provide at least 80 individual physical therapy services to at least nine individual
                Insureds, and falsely contended in the resulting bills to GEICO that Seco personally
                performed or at least directly supervised every one of those treatments. What is
                more, those putative treatments included at least 15.75 hours of physical therapy
                services that required direct, one-on-one patient contact between the treating
                provider and the Insureds throughout the services. That same day, Seco also
                purported to personally perform, or at least directly supervise at least 92 additional
                physical therapy services purportedly provided to at least 12 additional GEICO
                Insureds at Med-Union Medical and Gonzalez’s Medical, including at least 16
                hours of physical therapy services that required direct, one-on-one patient contact
                between the treating provider and the Insureds throughout the services. In all,
                GEICO received billing for at least 31.75 hours of services that Seco purported to
                personally perform, or at least directly supervise, on December 26, 2018.

        (xiii) On January 2, 2019, New Generation Rehab, Abreu, and Seco purported to provide
               at least 87 individual physical therapy services to at least 10 individual Insureds,
               and falsely contended in the resulting bills to GEICO that Seco personally
               performed or at least directly supervised every one of those treatments. What is
               more, those putative treatments included at least 16.75 hours of physical therapy
               services that required direct, one-on-one patient contact between the treating
               provider and the Insureds throughout the services. That same day, Seco also
               purported to personally perform, or at least directly supervise at least 90 additional
               physical therapy services purportedly provided to at least 12 additional GEICO
               Insureds at Med-Union Medical and Gonzalez’s Medical, including at least 15.25
               hours of physical therapy services that required direct, one-on-one patient contact
               between the treating provider and the Insureds throughout the services. In all,
               GEICO received billing for at least 32 hours of services that Seco purported to
               personally perform, or at least directly supervise, on January 2, 2019.

        (xiv)   On February 20, 2019, New Generation Rehab, Abreu, and Seco purported to
                provide at least 70 individual physical therapy services to at least eight individual
                Insureds, and falsely contended in the resulting bills to GEICO that Seco personally
                performed or at least directly supervised every one of those treatments. What is
                more, those putative treatments included at least 13.5 hours of physical therapy




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                services that required direct, one-on-one patient contact between the treating
                provider and the Insureds throughout the services. That same day, Seco also
                purported to personally perform, or at least directly supervise at least 77 additional
                physical therapy services purportedly provided to at least 10 additional GEICO
                Insureds at Med-Union Medical and Gonzalez’s Medical, including at least 12.75
                hours of physical therapy services that required direct, one-on-one patient contact
                between the treating provider and the Insureds throughout the services. In all,
                GEICO received billing for at least 26.25 hours of services that Seco purported to
                personally perform, or at least directly supervise, on February 20, 2019.

        (xv)    On June 19, 2019, Med-Union Medical, Cabrera, and Seco purported to provide at
                least 108 individual physical therapy services to at least 14 individual Insureds, and
                falsely contended in the resulting bills to GEICO that Seco personally performed
                or at least directly supervised every one of those treatments. What is more, those
                putative treatments included at least 18.25 hours of physical therapy services that
                required direct, one-on-one patient contact between the treating provider and the
                Insureds throughout the services. That same day, Seco also purported to personally
                perform, or at least directly supervise at least 62 additional physical therapy
                services purportedly provided to at least eight additional GEICO Insureds at
                Gonzalez’s Medical and New Generation Rehab, including at least 11 hours of
                physical therapy services that required direct, one-on-one patient contact between
                the treating provider and the Insureds throughout the services. In all, GEICO
                received billing for at least 29.25 hours of services that Seco purported to personally
                perform, or at least directly supervise, on June 19, 2019.

        (xvi)   On September 12, 2019, Premium Medical, Gutierrez Concepcion, and Seco
                purported to provide at least 34 individual physical therapy services to at least three
                individual Insureds, and falsely contended in the resulting bills to GEICO that Seco
                personally performed or at least directly supervised every one of those treatments.
                What is more, those putative treatments included at least six hours of physical
                therapy services that required direct, one-on-one patient contact between the
                treating provider and the Insureds throughout the services. That same day, Seco
                also purported to personally perform, or at least directly supervise at least 142
                additional physical therapy services purportedly provided to at least 21 additional
                GEICO Insureds at Med-Union Medical, Gonzalez’s Medical, and New Generation
                Rehab, including at least 24.75 hours of physical therapy services that required
                direct, one-on-one patient contact between the treating provider and the Insureds
                throughout the services. In all, GEICO received billing for at least 30.75 hours of
                services that Seco purported to personally perform, or at least directly supervise, on
                September 12, 2019.

        (xvii) On October 22, 2019, Premium Medical, Gutierrez Concepcion, and Seco
               purported to provide at least 50 individual physical therapy services to at least six
               individual Insureds, and falsely contended in the resulting bills to GEICO that Seco
               personally performed or at least directly supervised every one of those treatments.
               What is more, those putative treatments included at least 8.5 hours of physical




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                therapy services that required direct, one-on-one patient contact between the
                treating provider and the Insureds throughout the services. That same day, Seco
                also purported to personally perform, or at least directly supervise at least 121
                additional physical therapy services purportedly provided to at least 17 additional
                GEICO Insureds at Med-Union Medical, Gonzalez’s Medical, and New Generation
                Rehab, including at least 21 hours of physical therapy services that required direct,
                one-on-one patient contact between the treating provider and the Insureds
                throughout the services. In all, GEICO received billing for at least 29.5 hours of
                services that Seco purported to personally perform, or at least directly supervise, on
                October 22, 2019.

        (xviii) On January 16, 2020, Premium Medical, Gutierrez Concepcion, and Seco purported
                to provide at least 64 individual physical therapy services to at least eight individual
                Insureds, and falsely contended in the resulting bills to GEICO that Seco personally
                performed or at least directly supervised every one of those treatments. What is
                more, those putative treatments included at least 10.75 hours of physical therapy
                services that required direct, one-on-one patient contact between the treating
                provider and the Insureds throughout the services. That same day, Seco also
                purported to personally perform, or at least directly supervise at least 50 additional
                physical therapy services purportedly provided to at least seven additional GEICO
                Insureds at Med-Union Medical, Gonzalez’s Medical, and New Generation Rehab,
                including at least 8.5 hours of physical therapy services that required direct, one-
                on-one patient contact between the treating provider and the Insureds throughout
                the services. In all, GEICO received billing for at least 19.25 hours of services that
                Seco purported to personally perform, or at least directly supervise, on January 16,
                2020.

        (xix)   On February 4, 2020, Premium Medical, Gutierrez Concepcion, and Seco purported
                to provide at least 55 individual physical therapy services to at least seven
                individual Insureds, and falsely contended in the resulting bills to GEICO that Seco
                personally performed or at least directly supervised every one of those treatments.
                What is more, those putative treatments included at least 8.75 hours of physical
                therapy services that required direct, one-on-one patient contact between the
                treating provider and the Insureds throughout the services. That same day, Seco
                also purported to personally perform, or at least directly supervise at least 70
                additional physical therapy services purportedly provided to at least 10 additional
                GEICO Insureds at Med-Union Medical, Gonzalez’s Medical, and New Generation
                Rehab, including at least 11.75 hours of physical therapy services that required
                direct, one-on-one patient contact between the treating provider and the Insureds
                throughout the services. In all, GEICO received billing for at least 20.5 hours of
                services that Seco purported to personally perform, or at least directly supervise, on
                February 4, 2020.

        (xx)    On March 2, 2020, Med-Union Medical, Angarica, and Seco purported to provide
                at least 61 individual physical therapy services to at least six individual Insureds,
                and falsely contended in the resulting bills to GEICO that Seco personally




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                 performed or at least directly supervised every one of those treatments. What is
                 more, those putative treatments included at least 12 hours of physical therapy
                 services that required direct, one-on-one patient contact between the treating
                 provider and the Insureds throughout the services. That same day, Seco also
                 purported to personally perform, or at least directly supervise at least 41 additional
                 physical therapy services purportedly provided to at least six additional GEICO
                 Insureds at New Generation Rehab and Gonzalez’s Medical, including at least 6.5
                 hours of physical therapy services that required direct, one-on-one patient contact
                 between the treating provider and the Insureds throughout the services. In all,
                 GEICO received billing for at least 18.5 hours of services that Seco purported to
                 personally perform, or at least directly supervise, on March 2, 2020.

         38.     These are only representative examples. It is impossible that Seco – who was

  relatively advanced in age at the time, and was simultaneously purporting to work multiple jobs at

  multiple locations – routinely performed or supervised such a high volume of physical therapy

  services on individual dates, often at multiple of the Clinic Defendants on individual dates.

         39.     Upon information and belief, the fraudulent billing for physical therapy services

  that the Defendants submitted or caused to be submitted through the respective Clinic Defendants

  to GEICO constituted only a fraction of the total fraudulent billing for physical therapy services

  that the Defendants submitted through the respective Clinic Defendants to all of the automobile

  insurers in the Florida automobile insurance market.

         40.     For instance, it is extremely improbable, to the point of impossibility, that the

  Defendants only submitted fraudulent billing to GEICO, and that the Defendants did not

  simultaneously bill other automobile insurers.

         41.     Thus, upon information and belief, the impossible number of physical therapy

  services that Seco purported to directly supervise or perform for GEICO Insureds at the Clinic

  Defendants and other locations on individual dates of service constituted only a fraction of the

  total number of physical therapy services that Seco purported to directly supervise or perform at




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  the Clinic Defendants and other locations, including for individuals insured by companies other

  than GEICO, on those same dates of service.

         42.     In keeping with the fact that Seco, Blasini, and Nguyen never legitimately fulfilled

  their required duties as “medical directors” at the respective Clinic Defendants, the substantial

  majority of the claims submitted by Defendants for physical therapy services identified in Exhibits

  “1” – “4” falsely represented that Seco had performed or at least directly supervised the underlying

  physical therapy services, so as to create the false appearance that the services were eligible for PIP

  reimbursement. In fact, the underlying physical therapy services were not eligible for PIP

  reimbursement, because they had been performed – to the extent they were performed at all – by

  completely unsupervised massage therapists and other unlicensed individuals, including Gutierrez

  Concepcion at Premium Medical, and Delgado and De Valle at Gonzalez’s Medical.

         43.     In the claims for physical therapy services identified in Exhibits “1” – “4”, the

  Defendants routinely fraudulently misrepresented that the physical therapy services were lawfully

  provided and eligible for PIP reimbursement, when in fact they were neither lawfully provided nor

  eligible for reimbursement, because:

         (i)     the putative physical therapy services were performed – to the extent they were
                 performed at all – by unsupervised massage therapists or other unlicensed
                 individuals;

         (ii)    the respective Clinic Defendants could not lawfully recover PIP Benefits for the
                 putative physical therapy services, because they were performed by unsupervised
                 massage therapists and other unlicensed individuals; and

         (iii)   the Defendants systematically fraudulently misrepresented that the physical therapy
                 services were legitimately performed or directly supervised by Seco, when in fact
                 Seco neither performed nor supervised the purported services.




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  C.     The Defendants’ Fraudulent Treatment and Billing Protocols

         44.      In the claims identified in Exhibits “1” – “4”, virtually none of the Insureds whom

  the Defendants purported to treat suffered from any significant injuries or health problems as a result

  of the relatively minor accidents they experienced or purported to experience.

         45.     Even so – and in keeping with the fact that Seco, Blasini, and Nguyen never

  legitimately served as medical director at any of the respective Clinic Defendants – the Defendants

  purported to subject virtually every Insured to a medically unnecessary course of “treatment”

  pursuant to pre-determined, fraudulent protocols designed to maximize the billing that they could

  submit to insurers, including GEICO, rather than to treat or otherwise benefit the Insureds who

  purportedly were subjected to them.

  1.     The Fraudulent Claims for Initial Examinations

         46.     As a first step in their fraudulent treatment and billing protocol, many of the

  Insureds in the claims identified in Exhibits “1” - “4” purportedly received an initial examination at

  the respective Clinic Defendants, with:

         (i)     Seco, Pelaez, and Trigoura purporting to personally perform or directly supervise a
                 substantial majority of the initial examinations in the claims identified in Exhibit
                 “1”;

         (ii)    Seco and Leiva purporting to personally perform or directly supervise a substantial
                 majority of the initial examinations in the claims identified in Exhibit “2”;

         (iii)   Seco and Fernandez purporting to personally perform or directly supervise a
                 substantial majority of the initial examinations in the claims identified in Exhibit
                 “3”; and

         (iv)    Seco and Zegarra purporting to personally perform or directly supervise a
                 substantial majority of the initial examinations in the claims identified in Exhibit
                 “4”.

  47.    The purported initial examinations then were billed to GEICO in the following manner:

         (i)     In the claims identified in Exhibit “1”, Med-Union Medical, J.A. Gonzalez, Amigo,
                 Cabrera, Angarica, Seco, Pelaez, and Trigoura billed GEICO under CPT 99204 for



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                 each initial examination that Seco, Pelaez, or Trigoura purportedly provided at Med-
                 Union Medical.

         (ii)    In the claims identified in Exhibit “2”, New Generation Rehab, Abreu, Seco, and
                 Leiva billed GEICO under CPT codes 99203 or 99205 for each initial examination
                 that Seco or Leiva purportedly provided at New Generation Rehab.

         (iii)   In the claims identified in Exhibit “3”, Premium Medical, Gutierrez Conception,
                 Seco, and Fernandez billed GEICO under CPT codes 99203 or 99204 for each initial
                 examination that Seco or Fernandez purportedly provided at Premium Medical.

         (iv)    In the claims identified in Exhibit “4”, Gonzalez’s Medical, Gonzalez, Blasini, Seco,
                 and Zegarra billed GEICO under CPT code 99204 for each initial examination that
                 Seco or Zegarra purportedly provided at Gonzalez’s Medical.

         48.     Pursuant to the American Medical Association’s CPT Assistant, which governs

  reimbursement of PIP claims, at all relevant times:

         (i)     the use of CPT code 99203 to bill for an initial patient examination represented –
                 among other things – that: (a) the patient presented with problems of moderate
                 severity; (b) the physician who conducted the examination spent at least 30 minutes
                 of face-to-face time with the patient or the patient’s family during the examination;
                 (c) the physician who performed the examination conducted a “detailed” physical
                 examination; and (d) the physician who performed the examination engaged in “low
                 complexity” medical decision-making; and

         (ii)    the use of CPT code 99204 to bill for an initial patient examination represented –
                 among other things – that: (a) the patient presented with problems of moderate to
                 high severity; (b) the physician who conducted the examination spent at least 45
                 minutes of face-to-face time with the patient or the patient’s family during the
                 examination; (c) the physician who performed the examination conducted a
                 “comprehensive” physical examination; and (d) the physician who performed the
                 examination engaged in “moderate complexity” medical decision-making.

         (iii)   the use of CPT code for 99205 to bill for an initial patient examination represented –
                 among other things – that: (a) the patient presented with problems of moderate to
                 high severity; (b) the physician who conducted the examination spent at least 60
                 minutes of face-to-face time with the patient or the patient’s family during the
                 examination; (c) the physician who performed the examination conducted a
                 “comprehensive” physical examination; and (d) the physician who performed the
                 examination engaged in “high complexity” medical decision-making.




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            49.   As set forth below, the charges for the initial examinations identified in Exhibits “1”

  - “4” were fraudulent in that they misrepresented the nature, extent, and results of the purported

  initial examinations.

  (i)       Misrepresentations Regarding the Severity of the Insureds’ Presenting Problems

            50.   To the extent that the Insureds in the claims identified in Exhibits “1” - “4” had any

  presenting problems at all as the result of their typically minor automobile accidents, the problems

  virtually always were low or minimal severity soft tissue injuries such as sprains and strains.

            51.   For instance, in the substantial majority of the claims identified in Exhibits “1” - “4”

  the Insureds did not seek treatment at any hospital as the result of their accidents. To the limited

  extent that the Insureds in the claims identified in Exhibits “1” - “4” did seek treatment at a hospital

  following their accidents, they virtually always were briefly observed on an outpatient basis, and

  discharged with nothing more serious than a minor soft tissue injury diagnosis such as a sprain or

  strain.

            52.   Furthermore, in the substantial majority of the claims identified in Exhibits “1” - “4”,

  contemporaneous police reports indicated that the underlying accidents involved low-speed, low-

  impact collisions, that the Insureds’ vehicles were functional following the accidents, and that no

  one was seriously injured in the accidents, or injured at all.

            53.   Even so, in the claims for initial examinations identified in Exhibits “1” - “4”, Seco,

  the Clinic Defendants, the Clinic Owner Defendants, Blasini, Pelaez, Trigoura, Leiva, Fernandez,

  and Zegarra made the following misrepresentations:

            (i)   When billing GEICO for putative initial examinations using CPT code 99203 in the
                  claims identified in Exhibits “2” – “3”, they falsely represented that the Insureds
                  presented with problems of moderate severity, when in fact the Insureds’ problems
                  were low or minimal severity soft tissue injuries such as sprains and strains, to the
                  limited extent that they had any presenting problems at all.




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        (ii)    When billing GEICO for putative initial examinations using CPT code 99204 or
                99205 in the claims identified in Exhibits “1” – “4”, they falsely represented that the
                Insureds presented with problems of moderate to high severity, when in fact the
                Insureds’ problems were low or minimal severity soft tissue injuries such as sprains
                and strains, to the limited extent that they had any presenting problems at all.

        54.     For example:

        (i)     On March 10, 2016, an Insured named EV was involved in an automobile accident.
                The contemporaneous police report indicated that the accident was a low-speed,
                rear-end collision, and that EV’s vehicle was drivable following the accident. The
                police report further indicated that EV was not injured and did not complain of any
                pain at the scene. In keeping with the fact that EV was not seriously injured, EV
                did not visit any hospital emergency room following the accident. To the extent
                that EV experienced any health problems at all as a result of the accident, they were
                of low or minimal severity. Even so, following a purported initial examination of
                EV on March 12, 2016, Gonzalez’s Medical, J.J. Gonzalez, Blasini, and Seco billed
                GEICO for an initial examination using CPT code 99204, and thereby falsely
                represented that the initial examination involved presenting problems of moderate
                to high severity.

        (ii)    On August 29, 2017, an Insured named JM was involved in an automobile accident.
                The contemporaneous police report indicated that the accident was a low-speed,
                sideswipe collision, and that JM’s vehicle was drivable following the accident. The
                police report further indicated that JM was not injured and did not complain of any
                pain at the scene. In keeping with the fact that JM was not seriously injured, JM
                did not visit any hospital emergency room following the accident. To the extent
                that JM experienced any health problems at all as a result of the accident, they were
                of low or minimal severity. Even so, following a purported initial examination of
                JM on September 5, 2017, Med-Union Medical, Cabrera, and Seco billed GEICO
                for an initial examination using CPT code 99204, and thereby falsely represented
                that the initial examination involved presenting problems of moderate to high
                severity.

        (iii)   On October 15, 2018, an Insured named MC was involved in an automobile
                accident. The contemporaneous police report indicated that the accident was a low-
                speed, low-impact collision, and that MC’s vehicle was drivable following the
                accident. The police report further indicated that MC was not injured. In keeping
                with the fact that MC was not seriously injured, MC did not visit any hospital
                emergency room following the accident. To the extent that MC experienced any
                health problems at all as a result of the accident, they were of low or minimal
                severity. Even so, following a purported initial examination of MC on October 17,
                2018, New Generation Rehab, Abreu, Seco, and Leiva billed GEICO for an initial
                examination using CPT code 99205, and thereby falsely represented that the initial
                examination involved presenting problems of moderate to high severity.




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        (iv)    On November 9, 2018, an Insured named JE was involved in an automobile
                accident. The contemporaneous police report indicated that JE was not injured and
                did not complain of any pain at the scene. In keeping with the fact that JE was not
                seriously injured, JE did not visit any hospital emergency room following the
                accident. To the extent that JE experienced any health problems at all as a result of
                the accident, they were of low or minimal severity. Even so, following a purported
                initial examination of JE on November 13, 2018, New Generation Rehab, Abreu,
                Seco, and Leiva billed GEICO for an initial examination using CPT code 99205,
                and thereby falsely represented that the initial examination involved presenting
                problems of moderate to high severity.

        (v)     On May 2, 2019, an Insured named AV was involved in an automobile accident.
                The contemporaneous police report indicated that the accident was a low-speed,
                low-impact collision, and that AV’s vehicle was drivable following the accident.
                The police report further indicated that AV was not injured and did not complain
                of any pain at the scene. In keeping with the fact that AV was not seriously injured,
                AV did not visit any hospital emergency room following the accident. To the extent
                that AV experienced any health problems at all as a result of the accident, they were
                of low or minimal severity. Even so, following a purported initial examination of
                AV on May 7, 2019, Med-Union Medical, Cabrera, Seco, and Pelaez billed GEICO
                for an initial examination using CPT code 99204, and thereby falsely represented
                that the initial examination involved presenting problems of moderate to high
                severity.

        (vi)    On June 2, 2019, an Insured named AN was involved in an automobile accident.
                The contemporaneous police report indicated that the accident was a low-speed,
                rear-end collision, and that AN’s vehicle was drivable following the accident. The
                police report further indicated that AN was not injured and did not complain of any
                pain at the scene. In keeping with the fact that AN was not seriously injured, AN
                did not visit any hospital emergency room following the accident. To the extent
                that AN experienced any health problems at all as a result of the accident, they were
                of low or minimal severity. Even so, following a purported initial examination of
                AN on June 4, 2019, Med-Union Medical, Cabrera, Seco, and Trigoura billed
                GEICO for an initial examination using CPT code 99204, and thereby falsely
                represented that the initial examination involved presenting problems of moderate
                to high severity.

        (vii)   On November 13, 2019, an Insured named AG was involved in an automobile
                accident. The contemporaneous police report indicated that the accident was a low-
                speed, rear-end collision, and that AG’s vehicle was drivable following the
                accident. The police report further indicated that AG was not injured and did not
                complain of any pain at the scene. In keeping with the fact that AG was not
                seriously injured, AG did not visit any hospital emergency room following the
                accident. To the extent that AG experienced any health problems at all as a result
                of the accident, they were of low or minimal severity. Even so, following a
                purported initial examination of AG on November 14, 2019, Gonzalez’s Medical,




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                 J.J. Gonzalez, and Seco billed GEICO for an initial examination using CPT code
                 99204, and thereby falsely represented that the initial examination involved
                 presenting problems of moderate to high severity.

         (viii) On November 26, 2019, an Insured named JC was involved in an automobile
                accident. The contemporaneous police report indicated that the accident was a low-
                speed, rear-end collision, and that JC’s vehicle was drivable following the accident.
                The police report further indicated that JC was not injured and did not complain of
                any pain at the scene. In keeping with the fact that JC was not seriously injured,
                JC did not visit any hospital emergency room following the accident. To the extent
                that JC experienced any health problems at all as a result of the accident, they were
                of low or minimal severity. Even so, following a purported initial examination of
                JC on December 4, 2019, Premium Medical, Gutierrez Concepcion, Seco, and
                Fernandez billed GEICO for an initial examination using CPT code 99204, and
                thereby falsely represented that the initial examination involved presenting
                problems of moderate to high severity.

         (ix)    On December 4, 2019, an Insured named YM was involved in an automobile
                 accident. The contemporaneous police report indicated that the accident was a low-
                 speed, rear-end collision, and that YM’s vehicle was drivable following the
                 accident. The police report further indicated that YM was not injured and did not
                 complain of any pain at the scene. In keeping with the fact that YM was not
                 seriously injured, YM did not visit any hospital emergency room following the
                 accident. To the extent that YM experienced any health problems at all as a result
                 of the accident, they were of low or minimal severity. Even so, following a
                 purported initial examination of YM on December 9, 2019, Gonzalez’s Medical,
                 J.J. Gonzalez, and Seco billed GEICO for an initial examination using CPT code
                 99204, and thereby falsely represented that the initial examination involved
                 presenting problems of moderate to high severity.

         (x)     On December 22, 2019, an Insured named MT was involved in an automobile
                 accident. The contemporaneous police report indicated that the accident was a low-
                 speed, rear-end collision, and that MT’s vehicle was drivable following the
                 accident. The police report further indicated that MT was not injured and did not
                 complain of any pain at the scene. In keeping with the fact that MT was not
                 seriously injured, MT did not visit any hospital emergency room following the
                 accident. To the extent that MT experienced any health problems at all as a result
                 of the accident, they were of low or minimal severity. Even so, following a
                 purported initial examination of MT on December 26, 2019, Premium Medical,
                 Gutierrez Concepcion, Seco, and Fernandez billed GEICO for an initial
                 examination using CPT code 99204, and thereby falsely represented that the initial
                 examination involved presenting problems of moderate to high severity.

         55.     These are only representative examples. In the claims for initial examinations

  identified in Exhibits “1” - “4”, Seco, the Clinic Defendants, the Clinic Owner Defendants, Blasini,




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  Pelaez, Trigoura, Leiva, Fernandez, and Zegarra routinely falsely represented that the Insureds

  presented with problems of either moderate severity or moderate to high severity in order to: (i)

  create a false basis for their charges for the examinations under CPT codes 99203, 99204 or 99205,

  respectively, because examinations billable under CPT codes 99203, 99204 and 99205 are

  reimbursable at higher rates than examinations involving presenting problems of low severity,

  minimal severity, or no severity; and (ii) create a false basis for the laundry list of other Fraudulent

  Services that the Defendants purported to provide to the Insureds.

  (ii)   Misrepresentations        Regarding      “Comprehensive”         or    “Detailed”      Physical
         Examinations

         56.     In addition, in the claims for initial examinations identified in Exhibits “1” - “4”,

  when Seco, the Clinic Defendants, the Clinic Owner Defendants, Blasini, Pelaez, Trigoura, Leiva,

  Fernandez, and Zegarra billed GEICO for putative initial examinations, they made the following

  misrepresentations regarding the nature and extent of the physical examinations that Seco, Pelaez,

  Trigoura, Leiva, Fernandez, and Zegarra purported to provide to the Insureds:

         (i)     When billing GEICO for putative initial examinations using CPT code 99203 in the
                 claims identified in Exhibits “2” – “3”, they falsely represented that the physicians
                 who purported to conduct the examinations – namely Leiva and Fernandez –
                 conducted “detailed” physical examinations of the Insureds who purportedly
                 received the examinations.

         (ii)    When billing GEICO for putative initial examinations using CPT code 99204 or
                 99205 in the claims identified in Exhibits “1” – “4”, they falsely represented that the
                 physicians and other healthcare providers who purported to conduct the examinations
                 – namely Seco, Pelaez, Trigoura, Leiva, Fernandez, and Zegarra – conducted
                 “comprehensive” physical examinations of the Insureds who purportedly received
                 the examinations.

         57.     In fact, with respect to the claims for initial examinations under CPT code 99203 that

  are identified in Exhibits “2” - “3”, neither Seco, Leiva, Fernandez, nor any other physician or

  healthcare provider associated with New Generation Rehab and Premium Medical, ever conducted

  a “detailed” patient examination because: (i) pursuant to the CPT Assistant, a “detailed” physical




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  examination requires – among other things – that the physician or other healthcare provider

  performing the examination document an extended examination of the affected body areas and other

  symptomatic or related organ systems; but (ii) neither Seco, Leiva, Fernandez, nor any other

  physician or healthcare associated with New Generation Rehab and Premium Medical ever

  documented an extended examination of the Insureds’ musculoskeletal systems or any of the

  Insureds’ other systems.

         58.     Additionally, with respect to the claims for initial examinations under CPT codes

  99204 and 99205 that are identified in Exhibits “1” – “4”, neither Seco, Pelaez, Trigoura, Leiva,

  Fernandez, Zegarra, nor any other physician or healthcare provider associated with the Clinic

  Defendants, ever conducted a “comprehensive” patient examination because: (i) pursuant to the CPT

  Assistant, a “comprehensive” physical examination requires – among other things – that the

  physician or other healthcare provider performing the examination document a general examination

  of multiple patient organ systems or a complete examination of a single patient organ system; but

  (ii) neither Seco, Pelaez, Trigoura, Leiva, Fernandez, Zegarra, nor any other physician or other

  healthcare provider associated with the Clinic Defendants ever documented a general examination

  of multiple patient organ systems or a complete examination of a single patient organ system.

         59.     For example:

         (i)     On July 9, 2014, Gonzalez’s Medical, J.J. Gonzalez, and Seco billed GEICO under
                 CPT code 99204 for an initial examination of an Insured named MW that Seco
                 purported to perform, and thereby represented that they had provided a
                 “comprehensive” physical examination to MW. However, Seco did not document
                 findings with respect to at least eight of the Insured’s organ systems, nor did he
                 document a “complete” examination of the Insured’s musculoskeletal systems or
                 any of the Insured’s other organ systems.

         (ii)    On August 5, 2015, Gonzalez’s Medical, J.J. Gonzalez, Blasini, and Seco billed
                 GEICO under CPT code 99204 for an initial examination of an Insured named NN
                 that Seco purported to perform, and thereby represented that they had provided a
                 “comprehensive” physical examination to NN. However, Seco did not document




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                findings with respect to at least eight of the Insured’s organ systems, nor did he
                document a “complete” examination of the Insured’s musculoskeletal systems or
                any of the Insured’s other organ systems.

        (iii)   On March 9, 2017, New Generation Rehab, Abreu, Seco and Leiva billed GEICO
                under CPT code 99205 for an initial examination of an Insured named NC that
                Leiva purported to perform, and thereby represented that they had provided a
                “comprehensive” physical examination to NC. However, Leiva did not document
                findings with respect to at least eight of the Insured’s organ systems, nor did he
                document a “complete” examination of the Insured’s musculoskeletal systems or
                any of the Insured’s other organ systems.

        (iv)    On February 1, 2018, Gonzalez’s Medical, J.J. Gonzalez, and Seco billed GEICO
                under CPT code 99204 for an initial examination of an Insured named LR that Seco
                purported to perform, and thereby represented that they had provided a
                “comprehensive” physical examination to LR. However, Seco did not document
                findings with respect to at least eight of the Insured’s organ systems, nor did he
                document a “complete” examination of the Insured’s musculoskeletal systems or
                any of the Insured’s other organ systems.

        (v)     On August 15, 2019, Gonzalez’s Medical, J.J. Gonzalez, Seco, and Zegarra billed
                GEICO under CPT code 99204 for an initial examination of an Insured named JT
                that Zegarra purported to perform, and thereby represented that they had provided
                a “comprehensive” physical examination to JT. However, Zegarra did not
                document findings with respect to at least eight of the Insured’s organ systems, nor
                did he document a “complete” examination of the Insured’s musculoskeletal
                systems or any of the Insured’s other organ systems.

        (vi)    On August 19, 2019, Premium Medical, Gutierrez Concepcion, Seco, and
                Fernandez billed GEICO under CPT code 99204 for an initial examination of an
                Insured named MC that Fernandez purported to perform, and thereby represented
                that they had provided a “comprehensive” physical examination to MC. However,
                Fernandez did not document findings with respect to at least eight of the Insured’s
                organ systems, nor did he document a “complete” examination of the Insured’s
                musculoskeletal systems or any of the Insured’s other organ systems.

        (vii)   On October 16, 2019, Premium Medical, Gutierrez Concepcion, Seco, and
                Fernandez billed GEICO under CPT code 99204 for an initial examination of an
                Insured named YB that Fernandez purported to perform, and thereby represented
                that they had provided a “comprehensive” physical examination to YB. However,
                Fernandez did not document findings with respect to at least eight of the Insured’s
                organ systems, nor did he document a “complete” examination of the Insured’s
                musculoskeletal systems or any of the Insured’s other organ systems.

        (viii) On November 5, 2019, Med-Union Medical, Cabrera, Seco and Pelaez billed
               GEICO under CPT code 99204 for an initial examination of an Insured named RR




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                 that Pelaez purported to perform, and thereby represented that they had provided a
                 “comprehensive” physical examination to RR. However, Pelaez did not document
                 findings with respect to at least eight of the Insured’s organ systems, nor did he
                 document a “complete” examination of the Insured’s musculoskeletal systems or
                 any of the Insured’s other organ systems.

          (ix)   On December 3, 2019, Med-Union Medical, Cabrera, Seco and Pelaez billed
                 GEICO under CPT code 99204 for an initial examination of an Insured named EG
                 that Pelaez purported to perform, and thereby represented that they had provided a
                 “comprehensive” physical examination to EG. However, Pelaez did not document
                 findings with respect to at least eight of the Insured’s organ systems, nor did he
                 document a “complete” examination of the Insured’s musculoskeletal systems or
                 any of the Insured’s other organ systems.

          (x)    On December 16, 2019, New Generation Rehab, Abreu, Seco and Leiva billed
                 GEICO under CPT code 99205 for an initial examination of an Insured named CM
                 that Leiva purported to perform, and thereby represented that they had provided a
                 “comprehensive” physical examination to CM. However, Leiva did not document
                 findings with respect to at least eight of the Insured’s organ systems, nor did he
                 document a “complete” examination of the Insured’s musculoskeletal systems or
                 any of the Insured’s other organ systems.

          60.    These are only representative examples. In the claims for initial examinations

  identified in Exhibits “1” - “4”, Seco, the Clinic Defendants, the Clinic Owner Defendants, Blasini,

  Pelaez, Trigoura, Leiva, Fernandez, and Zegarra routinely falsely represented that they provided

  either “detailed” or “comprehensive” physical examinations to the Insureds in order to create a false

  basis for their charges for the examinations under CPT codes 99203, 99204, or 99205 because

  examinations billable under CPT codes 99203, 99204 and 99205 are reimbursable at higher rates

  than examinations that are neither “detailed” nor “comprehensive”.

  (iii)   Misrepresentations Regarding the Extent of Medical Decision-Making

          61.    Moreover, in the claims for initial examinations identified in Exhibits “1” - “4”, when

  Seco, the Clinic Defendants, the Clinic Owner Defendants, Blasini, Pelaez, Trigoura, Leiva,

  Fernandez, and Zegarra billed GEICO for putative initial examinations, they made the following




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  misrepresentations regarding the extent of medical decision-making that was required in connection

  with the examinations:

         (i)     When billing GEICO for putative initial examinations using CPT code 99203 in the
                 claims identified in Exhibits “2” – “3”, they falsely represented that the physicians
                 who purported to conduct the examinations – namely Leiva and Fernandez –
                 engaged in some legitimate, low complexity medical decision-making in connection
                 with the examinations.

         (ii)    When billing GEICO for putative initial examinations using CPT code 99204 in the
                 claims identified in Exhibits “1”, “3”, and “4”, they falsely represented that the
                 physicians or healthcare providers who purported to conduct the examinations –
                 namely Seco, Pelaez, Trigoura, Fernandez and Zegarra– engaged in some legitimate,
                 moderate complexity medical decision-making in connection with the examinations.

         (iii)   When billing GEICO for putative initial examinations using CPT code 99205 in the
                 claims identified in Exhibits “2”, they falsely represented that the physician who
                 purported to conduct the examinations – namely Leiva – engaged in some legitimate,
                 high complexity medical decision-making in connection with the examinations.

         62.     In actuality, the purported initial examinations did not involve any legitimate medical

  decision-making at all.

         63.     For example, in the claims for initial examinations identified in Exhibits “1” - “4”:

  (i) the initial examinations did not involve the retrieval, review, or analysis of any meaningful

  amount of medical records, diagnostic tests, or other information; (ii) there was no risk of significant

  complications or morbidity – much less mortality – from the Insureds’ minor soft-tissue injury

  complaints, to the extent that they ever had any complaints arising from automobile accidents at all;

  and (iii) Seco, Pelaez, Trigoura, Leiva, Fernandez, and Zegarra did not consider any significant

  number of diagnoses or treatment options for Insureds during the initial examinations, and instead –

  at the direction of the respective Clinic Defendants and Clinic Owner Defendants – provided a

  substantially similar, pre-determined sprain/strain or similar soft tissue injury “diagnoses” for every

  Insured, regardless of their true individual circumstances or presentation.

         64.     For example:




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        (i)    On April 18, 2017, an Insured named DG was involved in an automobile accident.
               The contemporaneous police report indicated that the accident was a low-speed,
               rear-end collision, and that DG’s vehicle was drivable following the accident. The
               police report further indicated that DG was not injured and did not complain of any
               pain at the scene. In keeping with the fact that DG was not seriously injured, DG
               did not visit any hospital emergency room following the accident. To the extent that
               DG experienced any health problems at all as the result of the accident, they were
               of low or minimal severity. On April 18, 2017, Seco purported to conduct an initial
               examination of DG at Gonzalez’s Medical. To the extent that Seco performed the
               examination in the first instance, Seco did not retrieve, review, or analyze any
               significant amount of medical records, diagnostic tests, or other information in
               connection with the examination. Moreover, Seco did not consider any significant
               number of diagnoses or management options in connection with the examination.
               Instead, Seco provided DG with the same, phony, list of objectively unverifiable
               soft tissue injury “diagnoses” that he provided to virtually every other Insured.
               Furthermore, neither DG’s presenting problems, nor the treatment plan provided to
               DG by Gonzalez’s Medical, J.J. Gonzalez, Blasini, and Seco presented any risk of
               significant complications, morbidity, or mortality. To the contrary, DG did not need
               any significant treatment at all as a result of the accident, and the treatment plan
               provided by Gonzalez’s Medical, J.J. Gonzalez, Blasini, and Seco consisted of
               medically unnecessary physical therapy services, which did not pose the least bit
               of risk to DG. Even so, Gonzalez’s Medical, J.J. Gonzalez, Blasini, and Seco billed
               GEICO for the initial examination using CPT code 99204, and thereby falsely
               represented that Seco engaged in some legitimate, moderate complexity medical
               decision-making during the purported examination.

        (ii)   On May 29, 2018, an Insured named AR was involved in an automobile accident.
               The contemporaneous police report indicated that the accident was a low-speed,
               rear-end collision, and that AR’s vehicle was drivable following the accident. The
               police report further indicated that AR was not injured and did not complain of any
               pain at the scene. In keeping with the fact that AR was not seriously injured, AR
               did not visit any hospital emergency room following the accident. To the extent that
               AR experienced any health problems at all as the result of the accident, they were
               of low or minimal severity. On July 7, 2018, Seco purported to conduct an initial
               examination of AR at Gonzalez’s Medical. To the extent that Seco performed the
               examination in the first instance, Seco did not retrieve, review, or analyze any
               significant amount of medical records, diagnostic tests, or other information in
               connection with the examination. Moreover, Seco did not consider any significant
               number of diagnoses or management options in connection with the examination.
               Instead, Seco provided AR with the same, phony, list of objectively unverifiable
               soft tissue injury “diagnoses” that he provided to virtually every other Insured.
               Furthermore, neither AR’s presenting problems, nor the treatment plan provided to
               AR by Gonzalez’s Medical, J.J. Gonzalez, and Seco presented any risk of
               significant complications, morbidity, or mortality. To the contrary, AR did not need
               any significant treatment at all as a result of the accident, and the treatment plan
               provided by Gonzalez’s Medical, J.J. Gonzalez, and Seco consisted of medically




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                unnecessary physical therapy services, which did not pose the least bit of risk to
                AR. Even so, Gonzalez’s Medical, J.J. Gonzalez, and Seco billed GEICO for the
                initial examination using CPT code 99204, and thereby falsely represented that
                Seco engaged in some legitimate, moderate complexity medical decision-making
                during the purported examination.

        (iii)   On September 23, 2018, an Insured named FJ was involved in an automobile
                accident. The contemporaneous police report indicated that the accident was a one-
                car, low-impact collision, and that FJ’s vehicle was drivable following the accident.
                The police report further indicated that FJ was not injured and did not complain of
                any pain at the scene. In keeping with the fact that FJ was not seriously injured, FJ
                did not visit any hospital emergency room following the accident. To the extent that
                FJ experienced any health problems at all as the result of the accident, they were of
                low or minimal severity. On September 25, 2018, Zegarra purported to conduct an
                initial examination of FJ at Gonzalez’s Medical. To the extent that Zegarra
                performed the examination in the first instance, Zegarra did not retrieve, review, or
                analyze any significant amount of medical records, diagnostic tests, or other
                information in connection with the examination. Moreover, Zegarra did not
                consider any significant number of diagnoses or management options in connection
                with the examination. Instead, Zegarra provided FJ with the same, phony, list of
                objectively unverifiable soft tissue injury “diagnoses” that he provided to virtually
                every other Insured. Furthermore, neither FJ’s presenting problems, nor the
                treatment plan provided to FJ by Gonzalez’s Medical, J.J. Gonzalez, and Zegarra
                presented any risk of significant complications, morbidity, or mortality. To the
                contrary, FJ did not need any significant treatment at all as a result of the accident,
                and the treatment plan provided by Gonzalez’s Medical, J.J. Gonzalez, and Zegarra
                consisted of medically unnecessary physical therapy services, which did not pose
                the least bit of risk to FJ. Even so, Gonzalez’s Medical, J.J. Gonzalez, and Zegarra
                billed GEICO for the initial examination using CPT code 99204, and thereby falsely
                represented that Zegarra engaged in some legitimate, moderate complexity medical
                decision-making during the purported examination.

        (iv)    On November 9, 2018, an Insured named JE was involved in an automobile
                accident. The contemporaneous police report indicated that JE was not injured and
                did not complain of any pain at the scene. In keeping with the fact that JE was not
                seriously injured, JE did not visit any hospital emergency room following the
                accident. To the extent that JE experienced any health problems at all as the result
                of the accident, they were of low or minimal severity. On November 13, 2018,
                Leiva purported to conduct an initial examination of JE at New Generation Rehab.
                To the extent that Leiva performed the examination in the first instance, Leiva did
                not retrieve, review, or analyze any significant amount of medical records,
                diagnostic tests, or other information in connection with the examination.
                Moreover, Leiva did not consider any significant number of diagnoses or
                management options in connection with the examination. Instead, Leiva provided
                JE with the same, phony, list of objectively unverifiable soft tissue injury
                “diagnoses” that he provided to virtually every other Insured. Furthermore, neither




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               JE’s presenting problems, nor the treatment plan provided to JE by New Generation
               Rehab, Abreu, and Leiva presented any risk of significant complications,
               morbidity, or mortality. To the contrary, JE did not need any significant treatment
               at all as a result of the accident, and the treatment plan provided by New Generation
               Rehab, Abreu, and Leiva consisted of medically unnecessary physical therapy
               services, which did not pose the least bit of risk to JE. Even so, New Generation
               Rehab, Abreu, and Leiva billed GEICO for the initial examination using CPT code
               99205, and thereby falsely represented that Leiva engaged in some legitimate, high
               complexity medical decision-making during the purported examination.

        (v)    On November 9, 2018, an Insured named JF was involved in an automobile
               accident. The contemporaneous police report indicated that JF was not injured and
               did not complain of any pain at the scene. In keeping with the fact that JF was not
               seriously injured, JF did not visit any hospital emergency room following the
               accident. To the extent that JF experienced any health problems at all as the result
               of the accident, they were of low or minimal severity. On November 13, 2018,
               Leiva purported to conduct an initial examination of JF at New Generation Rehab.
               To the extent that Leiva performed the examination in the first instance, Leiva did
               not retrieve, review, or analyze any significant amount of medical records,
               diagnostic tests, or other information in connection with the examination.
               Moreover, Leiva did not consider any significant number of diagnoses or
               management options in connection with the examination. Instead, Leiva provided
               JF with the same, phony, list of objectively unverifiable soft tissue injury
               “diagnoses” that he provided to virtually every other Insured. Furthermore, neither
               JF’s presenting problems, nor the treatment plan provided to JF by New Generation
               Rehab, Abreu, and Leiva presented any risk of significant complications,
               morbidity, or mortality. To the contrary, JF did not need any significant treatment
               at all as a result of the accident, and the treatment plan provided by New Generation
               Rehab, Abreu, and Leiva consisted of medically unnecessary physical therapy
               services, which did not pose the least bit of risk to JF. Even so, New Generation
               Rehab, Abreu, and Leiva billed GEICO for the initial examination using CPT code
               99205, and thereby falsely represented that Leiva engaged in some legitimate, high
               complexity medical decision-making during the purported examination.

        (vi)   On May 5, 2019, an Insured named DD was involved in an automobile accident.
               The contemporaneous police report indicated that the accident was a low-speed,
               low-impact collision, and that DD’s vehicle was drivable following the accident.
               The police report further indicated that DD was not injured and did not complain
               of any pain at the scene. In keeping with the fact that DD was not seriously injured,
               DD did not visit any hospital emergency room following the accident. To the extent
               that DD experienced any health problems at all as the result of the accident, they
               were of low or minimal severity. On May 7, 2019, Pelaez purported to conduct an
               initial examination of DD at Med-Union Medical. To the extent that Pelaez
               performed the examination in the first instance, Pelaez did not retrieve, review, or
               analyze any significant amount of medical records, diagnostic tests, or other
               information in connection with the examination. Moreover, Pelaez did not consider




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                any significant number of diagnoses or management options in connection with the
                examination. Instead, Pelaez provided DD with the same, phony, list of objectively
                unverifiable soft tissue injury “diagnoses” that he provided to virtually every other
                Insured. Furthermore, neither DD’s presenting problems, nor the treatment plan
                provided to DD by Med-Union Medical, Cabrera, and Pelaez presented any risk of
                significant complications, morbidity, or mortality. To the contrary, DD did not need
                any significant treatment at all as a result of the accident, and the treatment plan
                provided by Med-Union Medical, Cabrera, and Pelaez consisted of medically
                unnecessary physical therapy services, which did not pose the least bit of risk to
                DD. Even so, Med-Union Medical, Cabrera, and Pelaez billed GEICO for the initial
                examination using CPT code 99204, and thereby falsely represented that Pelaez
                engaged in some legitimate, moderate complexity medical decision-making during
                the purported examination.

        (vii)   On August 19, 2019, an Insured named JR was involved in an automobile accident.
                The contemporaneous police report indicated that the accident was a low-speed,
                low-impact collision, and that JR’s vehicle was drivable following the accident.
                The police report further indicated that JR was not injured and did not complain of
                any pain at the scene. In keeping with the fact that JR was not seriously injured, JR
                did not visit any hospital emergency room following the accident. To the extent that
                JR experienced any health problems at all as the result of the accident, they were of
                low or minimal severity. On August 20, 2019, Pelaez purported to conduct an initial
                examination of JR at Med-Union Medical. To the extent that Pelaez performed the
                examination in the first instance, Pelaez did not retrieve, review, or analyze any
                significant amount of medical records, diagnostic tests, or other information in
                connection with the examination. Moreover, Pelaez did not consider any significant
                number of diagnoses or management options in connection with the examination.
                Instead, Pelaez provided JR with the same, phony, list of objectively unverifiable
                soft tissue injury “diagnoses” that he provided to virtually every other Insured.
                Furthermore, neither JR’s presenting problems, nor the treatment plan provided to
                JR by Med-Union Medical, Cabrera, and Pelaez presented any risk of significant
                complications, morbidity, or mortality. To the contrary, JR did not need any
                significant treatment at all as a result of the accident, and the treatment plan
                provided by Med-Union Medical, Cabrera, and Pelaez consisted of medically
                unnecessary physical therapy services, which did not pose the least bit of risk to
                JR. Even so, Med-Union Medical, Cabrera, and Pelaez billed GEICO for the initial
                examination using CPT code 99204, and thereby falsely represented that Pelaez
                engaged in some legitimate, moderate complexity medical decision-making during
                the purported examination.

        (viii) On September 19, 2019, an Insured named FC was involved in an automobile
               accident. The contemporaneous police report indicated that the accident was a low-
               speed, rear-end collision, and that FC’s vehicle was drivable following the accident.
               The police report further does not indicate that FC complained of any pain at the
               scene. In keeping with the fact that FC was not seriously injured, FC did not visit
               any hospital emergency room following the accident. To the extent that FC




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               experienced any health problems at all as the result of the accident, they were of
               low or minimal severity. On September 23, 2019, Fernandez purported to conduct
               an initial examination of FC at Premium Medical. To the extent that Fernandez
               performed the examination in the first instance, Fernandez did not retrieve, review,
               or analyze any significant amount of medical records, diagnostic tests, or other
               information in connection with the examination. Moreover, Fernandez did not
               consider any significant number of diagnoses or management options in connection
               with the examination. Instead, Fernandez provided FC with the same, phony, list of
               objectively unverifiable soft tissue injury “diagnoses” that they provided to
               virtually every other Insured. Furthermore, neither FC’s presenting problems, nor
               the treatment plan provided to FC by Premium Medical, Gutierrez Concepcion, and
               Fernandez presented any risk of significant complications, morbidity, or mortality.
               To the contrary, FC did not need any significant treatment at all as a result of the
               accident, and the treatment plan provided by Premium Medical, Gutierrez
               Concepcion, and Fernandez consisted of medically unnecessary physical therapy
               services, which did not pose the least bit of risk to FC. Even so, Premium Medical,
               Gutierrez Concepcion, and Fernandez billed GEICO for the initial examination
               using CPT code 99204, and thereby falsely represented that Fernandez engaged in
               some legitimate, moderate complexity medical decision-making during the
               purported examination.

        (ix)   On February 22, 2020, an Insured named MG was involved in an automobile
               accident. The contemporaneous police report indicated that the accident was a low-
               speed, low-impact collision, and that MG’s vehicle was drivable following the
               accident. The police report further does not indicate that MG complained of any
               pain or injury at the scene. In keeping with the fact that MG was not seriously
               injured, MG did not visit any hospital emergency room following the accident. To
               the extent that MG experienced any health problems at all as the result of the
               accident, they were of low or minimal severity. On March 2, 2020, MG received a
               purported initial examination at Med-Union Medical. To the extent that the
               examination was performed in the first instance, the nurse practitioner did not
               retrieve, review, or analyze any significant amount of medical records, diagnostic
               tests, or other information in connection with the examination. Moreover, the nurse
               practitioner did not consider any significant number of diagnoses or management
               options in connection with the examination. Instead, the nurse practitioner provided
               MG with the same, phony, list of objectively unverifiable soft tissue injury
               “diagnoses” that they provided to virtually every other Insured. Furthermore,
               neither MG’s presenting problems, nor the treatment plan provided to MG by Med-
               Union Medical, Angarica, and Seco, presented any risk of significant
               complications, morbidity, or mortality. To the contrary, MG did not need any
               significant treatment at all as a result of the accident, and the treatment plan
               provided by Med-Union Medical, Angarica, and Seco consisted of medically
               unnecessary physical therapy services, which did not pose the least bit of risk to
               MG. Even so, Med-Union Medical, Angarica, and Seco billed GEICO for the initial
               examination using CPT code 99204, and thereby falsely represented that the nurse




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                 practitioner engaged in some legitimate, moderate complexity medical decision-
                 making during the purported examination.

         (x)     On March 26, 2020, an Insured named SM was involved in an automobile accident.
                 The contemporaneous police report indicated that the accident was a low-speed,
                 rear-end collision, and that SM’s vehicle was drivable following the accident. The
                 police report further does not indicate that SM complained of any pain or injury at
                 the scene. In keeping with the fact that SM was not seriously injured, SM did not
                 visit any hospital emergency room following the accident. To the extent that SM
                 experienced any health problems at all as the result of the accident, they were of
                 low or minimal severity. On March 27, 2020, SM received a purported initial
                 examination at Med-Union Medical. To the extent that the examination was
                 performed in the first instance, the nurse practitioner did not retrieve, review, or
                 analyze any significant amount of medical records, diagnostic tests, or other
                 information in connection with the examination. Moreover, the nurse practitioner
                 did not consider any significant number of diagnoses or management options in
                 connection with the examination. Instead, the nurse practitioner provided SM with
                 the same, phony, list of objectively unverifiable soft tissue injury “diagnoses” that
                 they provided to virtually every other Insured. Furthermore, neither SM’s
                 presenting problems, nor the treatment plan provided to SM by Med-Union
                 Medical, Angarica, and Seco, presented any risk of significant complications,
                 morbidity, or mortality. To the contrary, SM did not need any significant treatment
                 at all as a result of the accident, and the treatment plan provided by Med-Union
                 Medical, Angarica, and Seco consisted of medically unnecessary physical therapy
                 services, which did not pose the least bit of risk to SM. Even so, Med-Union
                 Medical, Angarica, and Seco billed GEICO for the initial examination using CPT
                 code 99204, and thereby falsely represented that the nurse practitioner engaged in
                 some legitimate, moderate complexity medical decision-making during the
                 purported examination.

         65.      In keeping with the fact that these putative “diagnoses” were pre-determined and

  phony, Seco, Pelaez, Trigoura, Leiva, Fernandez, and Zegarra – at the direction of the respective

  Clinic Defendants and Clinic Owner Defendants – frequently issued substantially identical, phony

  “diagnoses”, on or about the same date, to two or more Insureds who had been involved in a the

  same underlying accident, and recommended a substantially identical course of medically

  unnecessary “treatment” to the Insureds, despite the fact that they were differently situated.

         66.     For example:

         (i)     On September 29, 2017, two Insureds – LP and GG – were involved in the same
                 automobile accident. Thereafter – incredibly – both Insureds presented at




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                Gonzalez’s Medical for initial examinations by Seco on the exact same date,
                October 5, 2017. LP and GG were different ages, in different physical conditions,
                located in different positions in the vehicle, and experienced the impact from
                different positions in the vehicle. To the extent that LP and GG suffered any injuries
                at all in their accident, the injuries were different. Even so, at the conclusion of the
                purported initial examinations, Gonzalez’s Medical and Seco – at the direction of
                J.J. Gonzalez – provided LP and GG with substantially identical, phony soft tissue
                injury “diagnoses”, and recommended a substantially identical course of medically
                unnecessary treatment to both of them.

        (ii)    On September 23, 2018, three Insureds – FJ, HC and YC – were involved in the
                same automobile accident. Thereafter – incredibly – all three Insureds presented at
                Gonzalez’s Medical for initial examinations by Zegarra on the exact same date,
                September 25, 2018. FJ, HC and YC were different ages, in different physical
                conditions, located in different positions in the vehicle, and experienced the impact
                from different positions in the vehicle. To the extent that FJ, HC and YC suffered
                any injuries at all in their accident, the injuries were different. Even so, at the
                conclusion of the purported initial examinations, Gonzalez’s Medical and Zegarra
                – at the direction of J.J. Gonzalez – provided FJ, HC and YC with substantially
                identical, phony soft tissue injury “diagnoses”, and recommended a substantially
                identical course of medically unnecessary treatment to all three of them.

        (iii)   On November 9, 2018, three Insureds – JE, GE, and JF – were involved in the same
                automobile accident. Thereafter – incredibly – all three Insureds presented at New
                Generation Rehab for initial examinations by Leiva on the exact same date,
                November 13, 2018. JE, GE, and JF were different ages, in different physical
                conditions, located in different positions in the vehicle, and experienced the impact
                from different positions in the vehicle. To the extent that JE, GE, and JF suffered
                any injuries at all in their accident, the injuries were different. Even so, at the
                conclusion of the purported initial examinations, New Generation Rehab and Leiva
                – at the direction of Abreu and Seco – provided JE, GE, and JF with substantially
                identical, phony soft tissue injury “diagnoses”, and recommended a substantially
                identical course of medically unnecessary treatment to both of them.

        (iv)    On January 9, 2019, two Insureds – EM and YB – were involved in the same
                automobile accident. Thereafter – incredibly – both Insureds presented at
                Gonzalez’s Medical for initial examinations by Seco on the exact same date,
                January 18, 2019. EM and YB were different ages, in different physical conditions,
                located in different positions in the vehicle, and experienced the impact from
                different positions in the vehicle. To the extent that EM and YB suffered any
                injuries at all in their accident, the injuries were different. Even so, at the conclusion
                of the purported initial examinations, Gonzalez’s Medical and Seco – at the
                direction of J.J. Gonzalez – provided EM and YB with substantially identical,
                phony soft tissue injury “diagnoses”, and recommended a substantially identical
                course of medically unnecessary treatment to both of them.




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        (v)     On January 18, 2019, two Insureds – DV and DV – were involved in the same
                automobile accident. Thereafter – incredibly – both Insureds presented at New
                Generation Rehab for initial examinations by Leiva on the exact same date, January
                18, 2019. DV and DV were different ages, in different physical conditions, located
                in different positions in the vehicle, and experienced the impact from different
                positions in the vehicle. To the extent that DV and DV suffered any injuries at all
                in their accident, the injuries were different. Even so, at the conclusion of the
                purported initial examinations, New Generation Rehab and Leiva – at the direction
                of Abreu and Seco – provided DV and DV with substantially identical, phony soft
                tissue injury “diagnoses”, and recommended a substantially identical course of
                medically unnecessary treatment to both of them.

        (vi)    On February 8, 2019, two Insureds – MA and OL – were involved in the same
                automobile accident. Thereafter – incredibly – both Insureds presented at New
                Generation Rehab for initial examinations by Leiva on the exact same date,
                February 12, 2019. MA and OL were different ages, in different physical
                conditions, located in different positions in the vehicle, and experienced the impact
                from different positions in the vehicle. To the extent that MA and OL suffered any
                injuries at all in their accident, the injuries were different. Even so, at the conclusion
                of the purported initial examinations, New Generation Rehab and Leiva – at the
                direction of Abreu and Seco – provided MA and OL with substantially identical,
                phony soft tissue injury “diagnoses”, and recommended a substantially identical
                course of medically unnecessary treatment to both of them.

        (vii)   On April 18, 2019, two Insureds – FR and WR – were involved in the same
                automobile accident. Thereafter – incredibly – both Insureds presented at Med-
                Union Medical for initial examinations by Pelaez on the exact same date, April 22,
                2019. FR and WR were different ages, in different physical conditions, located in
                different positions in the vehicle, and experienced the impact from different
                positions in the vehicle. To the extent that FR and WR suffered any injuries at all
                in their accident, the injuries were different. Even so, at the conclusion of the
                purported initial examinations, Med-Union Medical and Pelaez – at the direction of
                Cabrera and Seco – provided FR and WR with substantially identical, phony soft
                tissue injury “diagnoses”, and recommended a substantially identical course of
                medically unnecessary treatment to both of them.

        (viii) On June 2, 2019, two Insureds – FN and AN – were involved in the same
               automobile accident. Thereafter – incredibly – both Insureds presented at Med-
               Union Medical for initial examinations by Pelaez and Trigoura on the exact same
               date, June 4, 2019. FN and AN were different ages, in different physical conditions,
               located in different positions in the vehicle, and experienced the impact from
               different positions in the vehicle. To the extent that FN and AN suffered any injuries
               at all in their accident, the injuries were different. Even so, at the conclusion of the
               purported initial examinations, Med-Union Medical, Pelaez and Trigoura– at the
               direction of Cabrera and Seco – provided FN and AN with substantially identical,
               phony soft tissue injury “diagnoses”, and recommended a substantially identical




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                 course of medically unnecessary treatment to both of them.

         (ix)    On September 6, 2019, two Insureds – AG and FA – were involved in the same
                 automobile accident. Thereafter – incredibly – both Insureds presented at Premium
                 Medical for initial examinations by Fernandez on the exact same date, September
                 10, 2019. AG and FA were different ages, in different physical conditions, located
                 in different positions in the vehicle, and experienced the impact from different
                 positions in the vehicle. To the extent that AG and FA suffered any injuries at all
                 in their accident, the injuries were different. Even so, at the conclusion of the
                 purported initial examinations, Premium Medical and Fernandez – at the direction
                 of Gutierrez Concepcion and Seco– provided AG and FA with substantially
                 identical, phony soft tissue injury “diagnoses”, and recommended a substantially
                 identical course of medically unnecessary treatment to both of them.

         (x)     On December 22, 2019, two Insureds – MT and GN – were involved in the same
                 automobile accident. Thereafter – incredibly – both Insureds presented at Premium
                 Medical for initial examinations by Fernandez on the exact same date, December
                 26, 2019. MT and GN were different ages, in different physical conditions, located
                 in different positions in the vehicle, and experienced the impact from different
                 positions in the vehicle. To the extent that MT and GN suffered any injuries at all
                 in their accident, the injuries were different. Even so, at the conclusion of the
                 purported initial examinations, Premium Medical and Fernandez – at the direction
                 of Gutierrez Concepcion and Seco – provided MT and GN with substantially
                 identical, phony soft tissue injury “diagnoses”, and recommended a substantially
                 identical course of medically unnecessary treatment to both of them.

         67.     Based on these phony and pre-determined soft tissue injury “diagnoses”, Seco,

  Pelaez, Trigoura, Leiva, Fernandez, and Zegarra – at the direction of the respective Clinic

  Defendants and Clinic Owner Defendants – virtually every Insured was directed to return to the

  respective Clinic Defendants up to five times each week for medically unnecessary “physical

  therapy”, which was performed – to the extent that it was performed at all – by completely

  unsupervised massage therapists or other unlicensed individuals, including Gutierrez Concepcion at

  Premium Medical and Delgado and De Valle at Gonzalez’s Medical.

         68.     The false “diagnoses” contained within the initial examination reports were included

  to give the false impression that the initial examinations entailed some legitimate medical decision-

  making, to create a false basis for the charges under CPT codes 99203, 99204, and 99205, and to




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  create a false justification for the other Fraudulent Services that the Defendants purported to provide

  to the Insureds.

          69.     In the claims for initial examinations identified in Exhibits “1” – “4”, Seco, the

  Clinic Defendants, the Clinic Owner Defendants, Blasini, Pelaez, Trigoura, Leiva, Fernandez, and

  Zegarra routinely fraudulently misrepresented that the examinations were lawfully provided and

  eligible for PIP reimbursement, when in fact they were neither lawfully provided nor reimbursable,

  because:

          (i)     the putative examinations were illusory, with outcomes that were pre-determined
                  to result in substantially identical, phony “diagnoses” and treatment
                  recommendations, regardless of the Insureds’ true individual circumstances and
                  presentation;

          (ii)    the charges for the putative examinations misrepresented the nature, extent, and
                  results of the examinations; and

          (iii)   the Clinic Defendants never were eligible to collect PIP Benefits in connection with
                  the examinations in the first instance, inasmuch as they unlawfully were operated
                  without legitimate medical directors.

          70.        In this context, Seco – who purported to serve as the “medical director” at Med-

  Union Medical, New Generation Rehab, and Premium Medical – did not, and could not have,

  “[c]onduct[ed] systematic reviews of clinic billings to ensure that the billings are not fraudulent or

  unlawful.” See Fla. Stat. § 400.9935(1). Had Seco done so, he would have observed and put a stop

  to these fraudulent charges for initial examinations.

          71.        Likewise, Blasini and Nguyen – who purported to serve as the “medical director”

  at Gonzalez’s Medical, did not, and could not have, “[c]onduct[ed] systematic reviews of clinic

  billings to ensure that the billings are not fraudulent or unlawful.” See Fla. Stat. § 400.9935(1). Had

  Blasini and Nguyen done so, they would have observed and put a stop to these fraudulent charges

  for initial examinations.




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  2.     The Fraudulent Claims for Follow-Up Examinations

         72.     In addition to the fraudulent initial examinations, most of the Insureds in the claims

  identified in Exhibits “1” - “4” purportedly received multiple, fraudulent follow-up examinations at

  the respective Clinic Defendants, with:

         (i)     Seco, Pelaez, and Trigoura purporting to personally perform or directly supervise a
                 substantial majority of the follow-up examinations at Med-Union Medical;

         (ii)    Seco and Leiva purporting to personally perform or directly supervise a substantial
                 majority of the follow-up examinations at New Generation Rehab;

         (iii)   Seco and Fernandez purporting to personally perform or directly supervise a
                 substantial majority of the follow-up examinations at Premium Medical; and

         (iv)    Seco and Zegarra purporting to personally perform or directly supervise a
                 substantial majority of the follow-up examinations at Gonzalez’s Medical.

         73.     The purported follow-up examinations then were billed to GEICO in the following

  manner:

         (i)     In the claims identified in Exhibit “1”, Med-Union Medical, J.A. Gonzalez, Amigo,
                 Cabrera, Angarica, Seco, Pelaez, and Trigoura billed GEICO under CPT codes
                 99213, 99214, or 99215 for each follow-up examination that Seco, Pelaez, and
                 Trigoura purportedly provided at Med-Union Medical.

         (ii)    In the claims identified in Exhibit “2”, New Generation Rehab, Abreu, Seco, and
                 Leiva billed GEICO under CPT codes 99213, 99214, or 99215 for each follow-up
                 examination that Leiva purportedly provided at New Generation Rehab.

         (iii)   In the claims identified in Exhibit “3”, Premium Medical, Gutierrez Conception,
                 Seco, and Fernandez billed GEICO under CPT codes 99213 or 99214 for each
                 follow-up examination that Seco and Fernandez purportedly provided at Premium
                 Medical.

         (iv)    In the claims identified in Exhibit “4”, Gonzalez’s Medical, J.J. Gonzalez, Seco, and
                 Zegarra billed GEICO under CPT codes 99213, or 99214 for each follow-up
                 examination that Seco and Zegarra purportedly provided at Gonzalez’s Medical.

         74.     Pursuant to the CPT Assistant, at all relevant times the use of CPT code 99213 to bill

  for a follow-up examination represented – among other things – that: (i) the patient presented with

  problems of low to moderate severity; and (ii) the physician or other healthcare provider performed




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  at least two of the following three components during the examination: (a) took an “expanded

  problem focused” patient history; (b) conducted an “expanded problem focused physical

  examination”; and (c) engaged in medical decision-making of “low complexity”.

         75.     Pursuant to the CPT Assistant, at all relevant times the use of CPT code 99214 to bill

  for a follow-up examination represented – among other things – that: (i) the patient presented with

  problems of moderate to high severity; and (ii) the physician or other healthcare provider performed

  at least two of the following three components during the examination: (a) took a “detailed” patient

  history; (b) conducted a “detailed” physical examination; and (c) engaged in medical decision-

  making of “moderate complexity”.

         76.     Pursuant to the CPT Assistant, at all relevant times the use of CPT code 99215 to bill

  for a follow-up examination represented – among other things – that: (i) the patient presented with

  problems of moderate to high severity; and (ii) the physician or other healthcare provider performed

  at least two of the following three components during the examination: (a) took a “comprehensive”

  patient history; (b) conducted a “comprehensive” physical examination; and (c) engaged in medical

  decision-making of “high complexity”.

         77.     As set forth below, the charges for the follow-up examinations identified in Exhibits

  “1” – “4” misrepresented the nature, extent, and results of the purported follow-up examinations.

  (i)    Misrepresentations Regarding the Severity of the Insureds’ Presenting Problems

         78.     To the extent that the Insureds in the claims identified in Exhibits “1” - “4” suffered

  any injuries at all in their automobile accidents, the injuries almost always were minor soft tissue

  injuries such as sprains and strains, which were of low or minimal severity, even at their onset.

         79.     Minor soft tissue injuries such as strains and sprains virtually always resolve after a

  short course of conservative treatment or no treatment at all. By the time the Insureds in the claims




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  identified in Exhibits “1” - “4” presented for their putative follow-up examinations – typically weeks

  after their minor accidents – the Insureds either did not have any genuine presenting problems at all

  as the result of their minor automobile accidents, or else their presenting problems were minimal.

         80.     Even so, in the claims for the follow-up examinations identified in Exhibits “1” - “4”,

  Seco, the Clinic Defendants, the Clinic Owner Defendants, Blasini, Pelaez, Trigoura, Leiva,

  Fernandez, and Zegarra made the following misrepresentations:

         (i)     When billing GEICO for putative follow-up examinations using CPT code 99213 in
                 the claims identified in Exhibits “1” – “4”, they falsely represented that the Insureds
                 presented with problems of low to moderate severity, when in fact the Insureds’
                 problems were minimal severity soft tissue injuries such as sprains and strains, to the
                 limited extent that they had any presenting problems at all.

         (ii)    When billing GEICO for putative follow-up examinations using CPT code 99214 in
                 the claims identified in Exhibits “1” – “4”, they falsely represented that the Insureds
                 presented with problems of moderate to high severity, when in fact the Insureds’
                 problems minimal severity soft tissue injuries such as sprains and strains, to the
                 limited extent that they had any presenting problems at all.

         (iii)   When billing GEICO for putative follow-up examinations using CPT code 99215 in
                 the claims identified in Exhibits “1- 2”, they falsely represented that the Insureds
                 presented with problems of moderate to high severity, when in fact the Insureds’
                 problems were minimal severity soft tissue injuries such as sprains and strains, to the
                 limited extent that they had any presenting problems at all.

         81.     For example:

         (i)     On May 7, 2016, an Insured named YP was involved in an automobile accident.
                 The contemporaneous police report indicated that the accident was a low-speed,
                 low-impact collision, and that YP’s vehicle was drivable following the accident.
                 The police report further indicated that YP was not injured and did not complain of
                 any pain at the scene. In keeping with the fact that YP was not seriously injured,
                 YP did not visit any hospital emergency room following the accident. To the extent
                 that YP experienced any health problems at all as the result of the accident, they
                 were of low or minimal severity at the outset. Even so, following a purported
                 follow-up examination of YP on July 25, 2016 – approximately three months after
                 the accident – Gonzalez’s Medical, J.J. Gonzalez, Blasini, and Zegarra billed
                 GEICO for the follow-up examination using CPT code 99214 and thereby falsely
                 represented that YP presented with problems of moderate to high severity.

         (ii)    On August 29, 2017, an Insured named JM was involved in an automobile accident.
                 The contemporaneous police report indicated that the accident was a low-speed,




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                sideswipe collision, and that JM’s vehicle was drivable following the accident. The
                police report further indicated that JM was not injured and did not complain of any
                pain at the scene. In keeping with the fact that JM was not seriously injured, JM did
                not visit any hospital emergency room following the accident. To the extent that
                JM experienced any health problems at all as the result of the accident, they were
                of low or minimal severity at the outset. Even so, following a purported follow-up
                examination of JM on November 1, 2017 – more than two months after the accident
                – Med-Union Medical, Cabrera, and Seco billed GEICO for the follow-up
                examination using CPT code 99213 and thereby falsely represented that JM
                presented with problems of moderate severity.

        (iii)   On July 25, 2018, an Insured named KG was involved in an automobile accident.
                The contemporaneous police report indicated that the accident was a low-speed,
                rear-end collision, and that KG’s vehicle was drivable following the accident. The
                police report further indicated that KG was not injured and did not complain of any
                pain at the scene. In keeping with the fact that KG was not seriously injured, KG
                did not visit any hospital emergency room following the accident. To the extent that
                KG experienced any health problems at all as the result of the accident, they were
                of low or minimal severity at the outset. Even so, following a purported follow-up
                examination of KG on October 11, 2018 – approximately three months after the
                accident – Gonzalez’s Medical, J.J. Gonzalez, and Zegarra billed GEICO for the
                follow-up examination using CPT code 99214 and thereby falsely represented that
                KG presented with problems of moderate to high severity.

        (iv)    On November 9, 2018, an Insured named GE was involved in an automobile
                accident. The contemporaneous police report indicated that GE was not injured and
                did not complain of any pain at the scene. In keeping with the fact that GE was not
                seriously injured, GE did not visit any hospital emergency room following the
                accident. To the extent that GE experienced any health problems at all as the result
                of the accident, they were of low or minimal severity at the outset. Even so,
                following a purported follow-up examination of GE on December 3, 2018 –
                approximately one month after the accident – New Generation Rehab, Abreu,
                Leiva, and Seco billed GEICO for the follow-up examination using CPT code
                99213 and thereby falsely represented that MS presented with problems of
                moderate severity.

        (v)     On January 16, 2019, an Insured named MS was involved in an automobile
                accident. The contemporaneous police report indicated that the accident was a low-
                speed, rear-end collision, and that MS’s vehicle was drivable following the
                accident. The police report further indicated that MS was not injured and did not
                complain of any pain at the scene. In keeping with the fact that MS was not
                seriously injured, MS did not visit any hospital emergency room following the
                accident. To the extent that MS experienced any health problems at all as the result
                of the accident, they were of low or minimal severity at the outset. Even so,
                following a purported follow-up examination of MS on February 11, 2019 –
                approximately one month after the accident – New Generation Rehab, Abreu,




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                Leiva, and Seco billed GEICO for the follow-up examination using CPT code
                99213 and thereby falsely represented that MS presented with problems of
                moderate severity.

        (vi)    On August 19, 2019, an Insured named MM was involved in an automobile
                accident. The contemporaneous police report indicated that the accident was a low-
                impact collision, and that MM’s vehicle was drivable following the accident. The
                police report further indicated that MM was not injured and did not complain of
                any pain at the scene. In keeping with the fact that MM was not seriously injured,
                MM did not visit any hospital emergency room following the accident. To the
                extent that MM experienced any health problems at all as the result of the accident,
                they were of low or minimal severity at the outset. Even so, following a purported
                follow-up examination of MM on October 31, 2019 – more than two months after
                the accident – Med-Union Medical, Cabrera, Pelaez, and Seco billed GEICO for
                the follow-up examination using CPT code 99215 and thereby falsely represented
                that MM presented with problems of moderate to high severity.

        (vii)   On November 26, 2019, an Insured named JC was involved in an automobile
                accident. The contemporaneous police report indicated that the accident was a low-
                speed, rear-end collision, and that JC’s vehicle was drivable following the accident.
                The police report further indicated that JC was not injured and did not complain of
                any pain at the scene. In keeping with the fact that JC was not seriously injured, JC
                did not visit any hospital emergency room following the accident. To the extent that
                JC experienced any health problems at all as the result of the accident, they were of
                low or minimal severity at the outset. Even so, following a purported follow-up
                examination of JC on January 23, 2020 – approximately two months after the
                accident – Premium Medical, Gutierrez Concepcion, Fernandez, and Seco billed
                GEICO for the follow-up examination using CPT code 99214 and thereby falsely
                represented that JC presented with problems of moderate to high severity.

        (viii) On December 22, 2019, an Insured named GN was involved in an automobile
               accident. The contemporaneous police report indicated that the accident was a low-
               speed, rear-end collision, and that GN’s vehicle was drivable following the
               accident. The police report further indicated that GN was not injured and did not
               complain of any pain at the scene. In keeping with the fact that GN was not
               seriously injured, GN did not visit any hospital emergency room following the
               accident. To the extent that GN experienced any health problems at all as the result
               of the accident, they were of low or minimal severity at the outset. Even so,
               following a purported follow-up examination of GN on February 10, 2020 –
               approximately two months after the accident – Premium Medical, Gutierrez
               Concepcion, Fernandez, and Seco billed GEICO for the follow-up examination
               using CPT code 99214 and thereby falsely represented that GN presented with
               problems of moderate to high severity.

        (ix)    On March 26, 2020, an Insured named SM was involved in an automobile accident.
                The contemporaneous police report indicated that the accident was a low-speed,




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                 rear-end collision, and that SM’s vehicle was drivable following the accident. The
                 police report further indicated that SM was not injured and did not complain of any
                 pain at the scene. In keeping with the fact that SM was not seriously injured, SM
                 did not visit any hospital emergency room following the accident. To the extent that
                 SM experienced any health problems at all as the result of the accident, they were
                 of low or minimal severity at the outset. Even so, following a purported follow-up
                 examination of SM on April 24, 2020 – approximately one month after the accident
                 – Med-Union Medical, Angarica, and Seco billed GEICO for the follow-up
                 examination using CPT code 99214 and thereby falsely represented that SM
                 presented with problems of moderate to high severity.

         (x)     On April 7, 2020, an Insured named YC was involved in an automobile accident.
                 The contemporaneous police report indicated that the accident was a low-speed,
                 low-impact collision. The police report further indicated that YC was not injured.
                 In keeping with the fact that YC was not seriously injured, YC did not visit any
                 hospital emergency room following the accident. To the extent that YC experienced
                 any health problems at all as the result of the accident, they were of low or minimal
                 severity at the outset. Even so, following a purported follow-up examination of YC
                 on May 18, 2020 – approximately one and a half months after the accident – Med-
                 Union Medical, Angarica, and Seco billed GEICO for the follow-up examination
                 using CPT code 99214 and thereby falsely represented that YC presented with
                 problems of moderate to high severity.

         82.     These are only representative examples. In the claims for follow-up examinations

  identified in Exhibits “1” - “4”, Seco, the Clinic Defendants, the Clinic Owner Defendants, Blasini,

  Pelaez, Trigoura, Leiva, Fernandez and Zegarra routinely falsely represented that the Insureds

  presented with problems of either low to moderate severity or moderate to high severity in order to:

  (i) create a false basis for their charges for the examinations under CPT codes 99213, 99214, or

  99215, because examinations billable under CPT codes 99213, 99214, and 99215 are reimbursable

  at higher rates than examinations involving presenting problems of minimal severity, or no severity;

  and (ii) create a false basis for the laundry list of other Fraudulent Services that the Defendants

  purported to provide to the Insureds.




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  (ii)       Misrepresentations Regarding the Nature, Extent, and Results of the Follow-Up
             Examinations

             83.   What is more, in the claims for follow-up examinations identified in Exhibits “1” -

  “4”, neither Seco, Pelaez, Trigoura, Leiva, Fernandez, Zegarra, nor any other physician or other

  healthcare provider associated with the Clinic Defendants, took any legitimate patient histories,

  conducted any legitimate physical examinations, or engaged in any legitimate medical decision-

  making at all.

             84.   Rather, following the purported follow-up examinations, Seco, Pelaez, Trigoura,

  Leiva, Fernandez, and Zegarra – at the direction of the respective Clinic Defendants and Clinic

  Owner Defendants – simply: (i) reiterated the false, boilerplate “diagnoses” from the Insureds’ initial

  examinations; and either (ii) referred the Insureds for even more medically unnecessary physical

  therapy services, despite the fact that the Insureds often already had received extensive physical

  therapy services that supposedly had not been successful in resolving their purported pain symptoms;

  or (iii) discharged the Insureds from “treatment”, to the extent that their PIP Benefits had been

  exhausted.

             85.   The phony “follow-up examinations” that Seco, the Clinic Defendants, the Clinic

  Owner Defendants, Blasini, Pelaez, Trigoura, Leiva, Fernandez, and Zegarra purported to provide

  to the Insureds in the claims identified in Exhibits “1” - “4” therefore were medically useless, and

  played no legitimate role in the treatment or care of the Insureds, because the putative “results” of

  the examinations were prearranged to comport with the medically unnecessary treatment plan that

  was pre-determined for each Insured from the moment they walked into the Clinic Defendants’

  offices.

             86.   In the claims for follow-up examinations identified in Exhibits “1” - “4”, Seco, the

  Clinic Defendants, the Clinic Owner Defendants, Blasini, Pelaez, Trigoura, Leiva, Fernandez, and




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  Zegarra routinely fraudulently misrepresented that the examinations were lawfully provided and

  reimbursable, when in fact they were neither lawfully provided nor reimbursable, because:

         (i)     the putative examinations were illusory, with outcomes that were pre-determined
                 to result in substantially identical, phony “diagnoses” and treatment
                 recommendations, regardless of the Insureds’ true individual circumstances and
                 presentation;

         (ii)    the charges for the putative examinations misrepresented the nature and extent of
                 the examinations; and

         (iii)   the Clinic Defendants never were eligible to collect PIP Benefits in connection with
                 the examinations in the first instance, inasmuch as they unlawfully were operated
                 without legitimate medical directors.

  3.     The Fraudulent Claims for “Physical Therapy”

         87.     In keeping with the fact that the purported “results” of the follow-up examinations

  were pre-determined, and had no legitimate connection to the Insureds’ true medical circumstances

  or presentation:

         (i)     the Clinic Owner Defendants, Clinic Defendants, Seco, Blasini, Pelaez, Trigoura,
                 Leiva, Fernandez, Zegarra, and the Massage Therapist Defendants caused virtually
                 every Insured to receive two to four months of purported physical therapy
                 treatments, typically beginning with physical therapy five or four times per week
                 for the first several weeks of treatment, followed by physical therapy four or three
                 times per week thereafter; and

         (ii)    the Clinic Owner Defendants, Clinic Defendants, Seco, Blasini, Pelaez, Trigoura,
                 Leiva, Fernandez, Zegarra, and the Massage Therapist Defendants caused virtually
                 every Insured to receive substantially identical types of physical therapy services,
                 including: (i) hot/cold packs; (ii) mechanical traction; (iii) electrical stimulation;
                 (iv) ultrasound therapy; (v) therapeutic exercises; and (vi) neuromuscular
                 reeducation. See Exhibits “1” – “4”.

         88.     In a legitimate clinical setting, each individual patient’s physical therapy schedule,

  and the specific physical therapy modalities that will be used, must be tailored to the specific

  patient’s circumstances, symptomatology, and presentation.

         89.     In a legitimate clinical setting, the nature of, extent of, and schedule for physical

  therapy is constantly adjusted for each individual patient based on each patient’s individual



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  treatment progress, as assessed during each patient’s follow-up examinations and on an ongoing

  basis as they receive the physical therapy.

         90.     By contrast, at each of the Clinic Defendants, the nature and extent of the physical

  therapy that each Insured purportedly received was pre-determined and had no legitimate

  connection to the Insureds’ individual circumstances, presentation, or progress through the

  Defendants’ fraudulent treatment and billing protocols. The purported “physical therapy” provided

  through each of the Clinic Defendants to GEICO Insureds therefore was medically useless.

         91.     Furthermore, in the claims for physical therapy services identified in Exhibits “1” –

  “4”, the charges were fraudulent, unlawful, and non-reimbursable because the billing falsely

  represented that Seco had performed or directly supervised the services, when in fact the “physical

  therapy” services were performed – to the extent that they were performed at all – by unsupervised

  massage therapists or other unlicensed individuals associated with each of the Clinic Defendants,

  including Gutierrez Concepcion at Premium Medical, and Delgado and De Valle at Gonzalez’s

  Medical.

  III.   The Fraudulent Claims the Defendants Submitted or Caused to be Submitted to
         GEICO

         92.     To support their fraudulent charges, the Defendants systematically submitted or

  caused to be submitted thousands of HCFA-1500 forms, treatment reports, and claims through the

  respective Clinic Defendants to GEICO, containing thousands of individual charges, seeking

  payment for the Fraudulent Services that the Defendants were not entitled to receive. In particular:

         (i)     The Med-Union Medical Defendants submitted or caused to be submitted thousands
                 of HCFA-1500 forms, treatment reports, and claims through Med-Union Medical to
                 GEICO;

         (ii)    The New Generation Rehab Defendants submitted or caused to be submitted
                 thousands of HCFA-1500 forms, treatment reports, and claims through New
                 Generation Rehab to GEICO;




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         (iii)   The Premium Medical Defendants submitted or caused to be submitted thousands of
                 HCFA-1500 forms, treatment reports, and claims through Premium Medical to
                 GEICO; and

         (iv)    The Gonzalez’s Medical Defendants submitted or caused to be submitted thousands
                 of HCFA-1500 forms, treatment reports, and claims through Gonzalez’s Medical to
                 GEICO.

         93.     The claims that the Defendants submitted or caused to be submitted to GEICO were

  false and misleading in the following, material respects:

         (i)     The HCFA-1500 forms and treatment reports submitted or caused to be submitted
                 by the Defendants uniformly misrepresented to GEICO that the Clinic Defendants
                 were in compliance with the Clinic Act and eligible to collect PIP Benefits in the
                 first instance. In fact, the Clinic Defendants never were in compliance with the
                 Clinic Act, and never were eligible to collect PIP Benefits, because they were
                 operated without legitimate medical directors who legitimately fulfilled the
                 statutory requirements applicable to clinic medical directors.

         (ii)    The HCFA-1500 forms and treatment reports submitted or caused to be submitted
                 by the Defendants uniformly misrepresented to GEICO that the Fraudulent Services
                 were lawfully provided and eligible for PIP reimbursement. In fact, the Fraudulent
                 Services were not lawfully provided, and were not eligible for PIP reimbursement,
                 because: (a) they were medically unnecessary and provided – to the extent that they
                 were provided at all – pursuant to pre-determined fraudulent protocols designed
                 solely to financially enrich the Defendants, rather than to treat or otherwise benefit
                 the Insureds who purportedly were subjected to them; and (b) in the case of the
                 physical therapy services, because they were performed by unsupervised massage
                 therapists and other unlicensed individuals.

         (iii)   The HCFA-1500 forms and treatment reports submitted or caused to be submitted
                 by the Defendants uniformly misrepresented to GEICO that the Fraudulent Services
                 were medically necessary and, in many cases, misrepresented to GEICO that the
                 Fraudulent Services actually were performed. In fact, the Fraudulent Services
                 frequently were not performed at all and, to the extent that they were performed,
                 they were not medically necessary and were performed as part of a pre-determined
                 fraudulent treatment and billing protocol designed solely to financially enrich the
                 Defendants, not to benefit the Insureds who supposedly were subjected to them.

         (iv)    The HCFA-1500 forms and treatment reports submitted by and on behalf of the
                 Defendants frequently misrepresented and exaggerated the level of the Fraudulent
                 Services and the nature of the Fraudulent Services that purportedly were provided,
                 in order to increase the amount of reimbursement the Defendants could unlawfully
                 obtain.




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  IV.    The Defendants’ Fraudulent Concealment and GEICO’s Justifiable Reliance

         94.     The Defendants were legally and ethically obligated to act honestly and with integrity

  in connection with their performance of the Fraudulent Services and their submission of charges to

  GEICO. Even so, the Defendants knowingly misrepresented and concealed facts related to the Clinic

  Defendants in an effort to prevent discovery: (i) that the Clinic Defendants lacked legitimate medical

  directors, and therefore were ineligible to collect PIP Benefits in the first instance; (ii) that the

  Fraudulent Services were provided – to the extent that they were provided at all – by unsupervised

  massage therapists or other unlicensed individuals, and therefore were not eligible for PIP

  reimbursement; and (iii) that the Fraudulent Services were medically unnecessary.

         95.     GEICO is under statutory and contractual obligations to promptly and fairly process

  claims within 30 days. The facially-valid documents submitted to GEICO in support of the

  fraudulent charges at issue, combined with the material misrepresentations and acts of concealment

  described above, were designed to and did cause GEICO to rely upon them. As a result, GEICO has

  incurred damages of more than $4,015,000.00.

         96.     GEICO did not discover and could not reasonably have discovered that its damages

  were attributable to fraud until shortly before it commenced this action.

                              FIRST CAUSE OF ACTION
   Against Med-Union Medical, New Generation Rehab, Premium Medical, and Gonzalez’s
                                       Medical
                  (Declaratory Judgment – 28 U.S.C. §§ 2201 and 2202)

         97.     GEICO incorporates, as though fully set forth herein, each and every allegation in

  paragraphs 1-96 above.

         98.     There is an actual case in controversy between GEICO and each of the Clinic

  Defendants regarding more than $75,000.00 in pending fraudulent claims for the Fraudulent

  Services that have been submitted to GEICO.




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          99.       The Clinic Defendants have no right to receive payment for any pending bills

  submitted to GEICO because they unlawfully were operated in violation of the Clinic Act’s

  medical director and operating requirements.

          100.      The Clinic Defendants have no right to receive payment for any pending bills

  submitted to GEICO because the underlying Fraudulent Services were not lawfully provided or

  billed to GEICO.

          101.      The Clinic Defendants have no right to receive payment for any pending bills

  submitted to GEICO for purported physical therapy because the underlying Fraudulent Services

  were not performed by individuals who actually were licensed to perform the pertinent services,

  or else constituted non-reimbursable massage.

          102.      The Clinic Defendants have no right to receive payment for any pending bills

  submitted to GEICO because the underlying Fraudulent Services were not medically necessary

  and were provided – to the extent that they were provided at all – pursuant to pre-determined

  fraudulent protocols designed solely to financially enrich the Defendants, rather than to treat or

  otherwise benefit the Insureds who purportedly were subjected to them.

          103.      The Clinic Defendants have no right to receive payment for any pending bills

  submitted to GEICO because, in many cases, the Fraudulent Services never were provided in the

  first instance.

          104.      The Clinic Defendants have no right to receive payment for any pending bills

  submitted to GEICO because the billing codes used for the underlying Fraudulent Services

  misrepresented and exaggerated the level of services that purportedly were provided in order to

  inflate the charges submitted to GEICO.




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         105.    Accordingly, GEICO requests a judgment pursuant to the Declaratory Judgment

  Act, 28 U.S.C. §§ 2201 and 2202, declaring that Med-Union Medical, New Generation Rehab,

  Premium Medical, and Gonzalez’s Medical have no right to receive payment for any pending bills

  submitted to GEICO.

                                 SECOND CAUSE OF ACTION
                   Against J.A. Gonzalez, Amigo, Cabrera, Angarica, and Seco
                             (Violation of RICO, 18 U.S.C. § 1962(c))

         106.    GEICO incorporates, as though fully set forth herein, each and every allegation in

  paragraphs 1-96 above.

         107.    Med-Union Medical is an ongoing “enterprise,” as that term is defined in 18 U.S.C.

  § 1961(4), that engages in activities that affected interstate commerce.

         108.    J.A. Gonzalez, Amigo, Cabrera, Angarica, and Seco knowingly have conducted

  and/or participated, directly or indirectly, in the conduct of Med-Union Medical’s affairs through

  a pattern of racketeering activity consisting of repeated violations of the federal mail fraud statute,

  18 U.S.C. § 1341, based upon the use of the United States mails to submit or cause to be submitted

  thousands of fraudulent charges on a continuous basis for over six years seeking payments that

  Med-Union Medical was not eligible to receive under the No-Fault Law because: (i) Med-Union

  Medical unlawfully was operated in violation of the Clinic Act’s medical director and licensing

  requirements; (ii) the underlying Fraudulent Services were not lawfully provided or billed to

  GEICO; (iii) the underlying Fraudulent Services were not medically necessary and were provided

  – to the extent that they were provided at all – pursuant to pre-determined fraudulent protocols

  designed solely to financially enrich the Med-Union Medical Defendants, rather than to treat or

  otherwise benefit the Insureds who purportedly were subjected to them; (iv) in many cases, the

  Fraudulent Services never were provided in the first instance; and (v) the billing codes used for




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  the underlying Fraudulent Services misrepresented and exaggerated the level of services that

  purportedly were provided in order to inflate the charges submitted to GEICO.

          109.    A representative sample of the fraudulent bills and corresponding mailings

  submitted to GEICO that comprise, in part, the pattern of racketeering activity identified through

  the date of this Complaint are described, in part, in the chart annexed hereto as Exhibit “1”.

          110.    Med-Union Medical’s business is racketeering activity, inasmuch as the enterprise

  exists for the purpose of submitting fraudulent charges to insurers. The predicate acts of mail fraud

  are the regular way in which J.A. Gonzalez, Amigo, Cabrera, Angarica, and Seco operated Med-

  Union Medical, inasmuch as Med-Union Medical was not engaged in a legitimate health care

  practice, and acts of mail fraud therefore were essential in order for Med-Union Medical to

  function. Furthermore, the intricate planning required to carry out and conceal the predicate acts

  of mail fraud implies a threat of continued criminal activity, as does the fact that the Med-Union

  Medical Defendants continue to attempt collection on the fraudulent billing submitted through

  Med-Union Medical to the present day.

          111.    Med-Union Medical is engaged in inherently unlawful acts, inasmuch as it

  continues to submit and attempt collection on fraudulent billing submitted to GEICO and other

  insurers. These inherently unlawful acts are taken by Med-Union Medical in pursuit of inherently

  unlawful goals – namely, the theft of money from GEICO and other insurers through fraudulent

  no-fault billing.

          112.    GEICO has been injured in its business and property by reason of the above-

  described conduct in that it has paid at least $1,676,000.00 pursuant to the fraudulent bills

  submitted through the Med-Union Medical enterprise.




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            113.   By reason of its injury, GEICO is entitled to treble damages, costs, and reasonable

  attorneys’ fees pursuant to 18 U.S.C. § 1964(c), and any other relief the Court deems just and

  proper.

                                   THIRD CAUSE OF ACTION
            Against J.A. Gonzalez, Amigo, Cabrera, Angarica, Seco, Pelaez, and Trigoura
                             (Violation of RICO, 18 U.S.C. § 1962(d))

            114.   GEICO incorporates, as though fully set forth herein, each and every allegation in

  paragraphs 1-96 above.

            115.   Med-Union Medical is an ongoing “enterprise,” as that term is defined in 18 U.S.C.

  § 1961(4), that engages in activities that affected interstate commerce.

            116.   J.A. Gonzalez, Amigo, Cabrera, Angarica, Seco, Pelaez, and Trigoura are or were

  employed by or associated with the Med-Union Medical enterprise.

            117.   J.A. Gonzalez, Amigo, Cabrera, Angarica, Seco, Pelaez, and Trigoura knowingly

  have agreed, combined and conspired to conduct and/or participate, directly or indirectly, in the

  conduct of Med-Union Medical’s affairs through a pattern of racketeering activity consisting of

  repeated violations of the federal mail fraud statute, 18 U.S.C. § 1341, based upon the use of the

  United States mails to submit or cause to be submitted thousands of fraudulent charges on a

  continuous basis for over six years seeking payments that Med-Union Medical was not eligible to

  receive under the No-Fault Law because: (i) Med-Union Medical unlawfully was operated in

  violation of the Clinic Act’s medical director and licensing requirements; (ii) the underlying

  Fraudulent Services were not lawfully provided or billed to GEICO; (iii) the underlying Fraudulent

  Services were not medically necessary and were provided – to the extent that they were provided

  at all – pursuant to pre-determined fraudulent protocols designed solely to financially enrich the

  Med-Union Medical Defendants, rather than to treat or otherwise benefit the Insureds who




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  purportedly were subjected to them; (iv) in many cases, the Fraudulent Services never were

  provided in the first instance; and (v) the billing codes used for the underlying Fraudulent Services

  misrepresented and exaggerated the level of services that purportedly were provided in order to

  inflate the charges submitted to GEICO.

            118.   A representative sample of the fraudulent bills and corresponding mailings

  submitted to GEICO that comprise, in part, the pattern of racketeering activity identified through

  the date of this Complaint are described, in part, in the chart annexed hereto as Exhibit “1”. Each

  such mailing was made in furtherance of the mail fraud scheme.

            119.   J.A. Gonzalez, Amigo, Cabrera, Angarica, Seco, Pelaez, and Trigoura knew of,

  agreed to and acted in furtherance of the common and overall objective (i.e., to defraud GEICO

  and other automobile insurers of money) by submitting or facilitating the submission of the

  fraudulent charges to GEICO.

            120.   GEICO has been injured in its business and property by reason of the above-

  described conduct in that it has paid at least $1,676,000.00 pursuant to the fraudulent bills

  submitted through the Med-Union Medical enterprise.

            121.   By reason of its injury, GEICO is entitled to treble damages, costs, and reasonable

  attorneys’ fees pursuant to 18 U.S.C. §1964(c), and any other relief the Court deems just and

  proper.

                                   FOURTH CAUSE OF ACTION
                             Against the Med-Union Medical Defendants
                                  (Under Fla. Stat. 501.201 et. seq.)

            122.   GEICO incorporates, as though fully set forth herein, each and every allegation in

  paragraphs 1-96 above.




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          123.    The Med-Union Medical Defendants are actively engaged in trade and commerce

  in the State of Florida.

          124.    GEICO and its Insureds are “consumers” as defined by Fla. Stat. 501.203.

          125.    The Med-Union Medical Defendants engaged in unfair, deceptive, and

  unconscionable acts or trade practices in their trade or commerce in the pursuit and execution of

  their scheme to illegally obtain PIP Benefits from GEICO.

          126.    The bills and supporting documents submitted or caused to be submitted by the

  Med-Union Medical Defendants to GEICO were fraudulent in that they misrepresented: (i) Med-

  Union Medical’s eligibility to collect PIP Benefits in the first instance; (ii) that the Fraudulent

  Services were lawfully provided and billed to GEICO; (iii) that the Fraudulent Services were

  medically necessary; and (iv) that the Fraudulent Services actually were performed in the first

  instance.

          127.    Such acts and practices offend public policy and are immoral, unethical, oppressive,

  and unscrupulous. Additionally, the conduct of the Med-Union Medical Defendants has been

  materially injurious to GEICO and its Insureds.

          128.    The conduct of the Med-Union Medical Defendants was the actual and proximate

  cause of the damages sustained by GEICO.

          129.    The Med-Union Medical Defendants’ unfair and deceptive acts have caused

  GEICO to sustain damages of at least $1,676,000.00.

          130.    By reason of the Med-Union Medical Defendants’ conduct, GEICO is also entitled

  to recover costs and reasonable attorneys’ fees pursuant to Fla. Stat. 501.211(2).




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                                  FIFTH CAUSE OF ACTION
                            Against the Med-Union Medical Defendants
                                      (Common Law Fraud)

         131.    GEICO incorporates, as though fully set forth herein, each and every allegation in

  paragraphs 1-96 above.

         132.    The Med-Union Medical Defendants intentionally and knowingly made false and

  fraudulent statements of material fact to GEICO and concealed material facts from GEICO in the

  course of submitting, or causing to be submitted, thousands of fraudulent charges through Med-

  Union Medical for the Fraudulent Services.

         133.    The false and fraudulent statements of material fact and acts of fraudulent

  concealment include: (i) in every claim, the representation that that Med-Union Medical was in

  compliance with the Clinic Act and eligible to collect PIP Benefits in the first instance, when in

  fact Med-Union Medical never was in compliance with the Clinic Act, and never was eligible to

  collect PIP Benefits, because it was operated without a legitimate medical director; (ii) in every

  claim, the representation that the Fraudulent Services were lawfully provided and eligible for PIP

  reimbursement, when in fact the Fraudulent Services were not lawfully provided, and were not

  eligible for PIP reimbursement; (iii) in every claim, the representation that the Fraudulent Services

  were medically necessary, when in fact they were not medically necessary; and (iv) in many

  claims, the representation that the Fraudulent Services actually were performed, when in many

  cases they were not actually performed.

         134.    The Med-Union Medical Defendants intentionally made the above-described false

  and fraudulent statements and concealed material facts in a calculated effort to induce GEICO to

  pay charges submitted through Med-Union Medical that were not reimbursable.




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            135.   GEICO justifiably relied on these false and fraudulent representations and acts of

  fraudulent concealment, and as a proximate result has been injured in its business and property by

  reason of the above-described conduct in that it has paid at least $1,676,000.00 pursuant to the

  fraudulent bills that were submitted or caused to be submitted by the Med-Union Medical

  Defendants through Med-Union Medical.

            136.   The Med-Union Medical Defendants’ extensive fraudulent conduct demonstrates a

  high degree of moral turpitude and wanton dishonesty that entitles GEICO to recover punitive

  damages.

            137.   Accordingly, by virtue of the foregoing, GEICO is entitled to compensatory and

  punitive damages, together with interest and costs, and any other relief the Court deems just and

  proper.

                                   SIXTH CAUSE OF ACTION
                             Against the Med-Union Medical Defendants
                                        (Unjust Enrichment)

            138.   GEICO incorporates, as fully set forth herein, each and every allegation in

  paragraphs 1-96 above.

            139.   As set forth above, the Med-Union Medical Defendants have engaged in improper,

  unlawful, and/or unjust acts, all to the harm and detriment of GEICO.

            140.   When GEICO paid the bills and charges submitted or caused to be submitted by the

  Med-Union Medical Defendants through Med-Union Medical, it reasonably believed that it was

  legally obligated to make such payments based on the Med-Union Medical Defendants’ improper,

  unlawful, and/or unjust acts.




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         141.    The Med-Union Medical Defendants have been enriched at GEICO’s expense by

  GEICO’s payments which constituted a benefit that the Med-Union Medical Defendants

  voluntarily accepted notwithstanding their improper, unlawful, and unjust billing scheme.

         142.    The Med-Union Medical Defendants’ retention of GEICO’s payments violates

  fundamental principles of justice, equity and good conscience.

         143.    By reason of the above, the Med-Union Medical Defendants have been unjustly

  enriched in an amount to be determined at trial, but in no event less than $1,676,000.00.

                                 SEVENTH CAUSE OF ACTION
                                      Against Abreu and Seco
                              (Violation of RICO, 18 U.S.C. § 1962(c))

         144.    GEICO incorporates, as though fully set forth herein, each and every allegation in

  paragraphs 1-96 above.

         145.    New Generation Rehab is an ongoing “enterprise,” as that term is defined in 18

  U.S.C. § 1961(4), that engages in activities that affected interstate commerce.

         146.    Abreu and Seco knowingly have conducted and/or participated, directly or

  indirectly, in the conduct of New Generation Rehab’s affairs through a pattern of racketeering

  activity consisting of repeated violations of the federal mail fraud statute, 18 U.S.C. § 1341, based

  upon the use of the United States mails to submit or cause to be submitted thousands of fraudulent

  charges on a continuous basis for over three years seeking payments that New Generation Rehab

  was not eligible to receive under the No-Fault Law because: (i) New Generation Rehab unlawfully

  was operated in violation of the Clinic Act’s medical director and licensing requirements; (ii) the

  underlying Fraudulent Services were not lawfully provided or billed to GEICO; (iii) the underlying

  Fraudulent Services were not medically necessary and were provided – to the extent that they were

  provided at all – pursuant to pre-determined fraudulent protocols designed solely to financially




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  enrich the New Generation Rehab Defendants, rather than to treat or otherwise benefit the Insureds

  who purportedly were subjected to them; (iv) in many cases, the Fraudulent Services never were

  provided in the first instance; and (v) the billing codes used for the underlying Fraudulent Services

  misrepresented and exaggerated the level of services that purportedly were provided in order to

  inflate the charges submitted to GEICO.

         147.    A representative sample of the fraudulent bills and corresponding mailings

  submitted to GEICO that comprise, in part, the pattern of racketeering activity identified through

  the date of this Complaint are described, in part, in the chart annexed hereto as Exhibit “2”.

         148.    New Generation Rehab’s business is racketeering activity, inasmuch as the

  enterprise exists for the purpose of submitting fraudulent charges to insurers. The predicate acts of

  mail fraud are the regular way in which Abreu and Seco operated New Generation Rehab,

  inasmuch as New Generation Rehab was not engaged in a legitimate health care practice, and acts

  of mail fraud therefore were essential in order for New Generation Rehab to function. Furthermore,

  the intricate planning required to carry out and conceal the predicate acts of mail fraud implies a

  threat of continued criminal activity, as does the fact that the New Generation Rehab Defendants

  continue to attempt collection on the fraudulent billing submitted through New Generation Rehab

  to the present day.

         149.    New Generation Rehab is engaged in inherently unlawful acts, inasmuch as it

  continues to submit and attempt collection on fraudulent billing submitted to GEICO and other

  insurers. These inherently unlawful acts are taken by New Generation Rehab in pursuit of

  inherently unlawful goals – namely, the theft of money from GEICO and other insurers through

  fraudulent no-fault billing.




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            150.   GEICO has been injured in its business and property by reason of the above-

  described conduct in that it has paid at least $386,000.00 pursuant to the fraudulent bills submitted

  through the New Generation Rehab enterprise.

            151.   By reason of its injury, GEICO is entitled to treble damages, costs, and reasonable

  attorneys’ fees pursuant to 18 U.S.C. § 1964(c), and any other relief the Court deems just and

  proper.

                                   EIGHTH CAUSE OF ACTION
                                   Against Abreu, Seco, and Leiva
                               (Violation of RICO, 18 U.S.C. § 1962(d))

            152.   GEICO incorporates, as though fully set forth herein, each and every allegation in

  paragraphs 1-96 above.

            153.   New Generation Rehab is an ongoing “enterprise,” as that term is defined in 18

  U.S.C. § 1961(4), that engages in activities that affected interstate commerce.

            154.   Abreu, Seco, and Leiva are or were employed by or associated with the New

  Generation Rehab enterprise.

            155.   Abreu, Seco, and Leiva knowingly have agreed, combined and conspired to

  conduct and/or participate, directly or indirectly, in the conduct of New Generation Rehab’s affairs

  through a pattern of racketeering activity consisting of repeated violations of the federal mail fraud

  statute, 18 U.S.C. § 1341, based upon the use of the United States mails to submit or cause to be

  submitted thousands of fraudulent charges on a continuous basis for over three years seeking

  payments that New Generation Rehab was not eligible to receive under the No-Fault Law because:

  (i) New Generation Rehab unlawfully was operated in violation of the Clinic Act’s medical

  director and licensing requirements; (ii) the underlying Fraudulent Services were not lawfully

  provided or billed to GEICO; (iii) the underlying Fraudulent Services were not medically




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  necessary and were provided – to the extent that they were provided at all – pursuant to pre-

  determined fraudulent protocols designed solely to financially enrich the New Generation Rehab

  Defendants, rather than to treat or otherwise benefit the Insureds who purportedly were subjected

  to them; (iv) in many cases, the Fraudulent Services never were provided in the first instance; and

  (v) the billing codes used for the underlying Fraudulent Services misrepresented and exaggerated

  the level of services that purportedly were provided in order to inflate the charges submitted to

  GEICO.

            156.   A representative sample of the fraudulent bills and corresponding mailings

  submitted to GEICO that comprise, in part, the pattern of racketeering activity identified through

  the date of this Complaint are described, in part, in the chart annexed hereto as Exhibit “2”. Each

  such mailing was made in furtherance of the mail fraud scheme.

            157.   Abreu, Seco, and Leiva knew of, agreed to and acted in furtherance of the common

  and overall objective (i.e., to defraud GEICO and other automobile insurers of money) by

  submitting or facilitating the submission of the fraudulent charges to GEICO.

            158.   GEICO has been injured in its business and property by reason of the above-

  described conduct in that it has paid at least $386,000.00 pursuant to the fraudulent bills submitted

  through the New Generation Rehab enterprise.

            159.   By reason of its injury, GEICO is entitled to treble damages, costs, and reasonable

  attorneys’ fees pursuant to 18 U.S.C. §1964(c), and any other relief the Court deems just and

  proper.




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                                   NINTH CAUSE OF ACTION
                           Against the New Generation Rehab Defendants
                                 (Under Fla. Stat. 501.201 et. seq.)

         160.    GEICO incorporates, as though fully set forth herein, each and every allegation in

  paragraphs 1-96 above.

         161.    The New Generation Rehab Defendants are actively engaged in trade and

  commerce in the State of Florida.

         162.    GEICO and its Insureds are “consumers” as defined by Fla. Stat. 501.203.

         163.    The New Generation Rehab Defendants engaged in unfair, deceptive, and

  unconscionable acts or trade practices in their trade or commerce in the pursuit and execution of

  their scheme to illegally obtain PIP Benefits from GEICO.

         164.    The bills and supporting documents submitted or caused to be submitted by the

  New Generation Rehab Defendants to GEICO were fraudulent in that they misrepresented: (i) New

  Generation Rehab’s eligibility to collect PIP Benefits in the first instance; (ii) that the Fraudulent

  Services were lawfully provided and billed to GEICO; (iii) that the Fraudulent Services were

  medically necessary; and (iv) that the Fraudulent Services actually were performed in the first

  instance.

         165.    Such acts and practices offend public policy and are immoral, unethical, oppressive,

  and unscrupulous. Additionally, the conduct of the New Generation Rehab Defendants has been

  materially injurious to GEICO and its Insureds.

         166.    The conduct of the New Generation Rehab Defendants was the actual and

  proximate cause of the damages sustained by GEICO.

         167.    The New Generation Rehab Defendants’ unfair and deceptive acts have caused

  GEICO to sustain damages of at least $386,000.00.




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         168.    By reason of the New Generation Rehab Defendants’ conduct, GEICO is also

  entitled to recover costs and reasonable attorneys’ fees pursuant to Fla. Stat. 501.211(2).

                                   TENTH CAUSE OF ACTION
                           Against the New Generation Rehab Defendants
                                       (Common Law Fraud)

         169.    GEICO incorporates, as though fully set forth herein, each and every allegation in

  paragraphs 1-96 above.

         170.    The New Generation Rehab Defendants intentionally and knowingly made false

  and fraudulent statements of material fact to GEICO and concealed material facts from GEICO in

  the course of submitting, or causing to be submitted, thousands of fraudulent charges through New

  Generation Rehab for the Fraudulent Services.

         171.    The false and fraudulent statements of material fact and acts of fraudulent

  concealment include: (i) in every claim, the representation that that New Generation Rehab was in

  compliance with the Clinic Act and eligible to collect PIP Benefits in the first instance, when in

  fact New Generation Rehab never was in compliance with the Clinic Act, and never was eligible

  to collect PIP Benefits, because it was operated without a legitimate medical director; (ii) in every

  claim, the representation that the Fraudulent Services were lawfully provided and eligible for PIP

  reimbursement, when in fact the Fraudulent Services were not lawfully provided, and were not

  eligible for PIP reimbursement; (iii) in every claim, the representation that the Fraudulent Services

  were medically necessary, when in fact they were not medically necessary; and (iv) in many

  claims, the representation that the Fraudulent Services actually were performed, when in many

  cases they were not actually performed.




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            172.   The New Generation Rehab Defendants intentionally made the above-described

  false and fraudulent statements and concealed material facts in a calculated effort to induce GEICO

  to pay charges submitted through New Generation Rehab that were not reimbursable.

            173.   GEICO justifiably relied on these false and fraudulent representations and acts of

  fraudulent concealment, and as a proximate result has been injured in its business and property by

  reason of the above-described conduct in that it has paid at least $386,000.00 pursuant to the

  fraudulent bills that were submitted or caused to be submitted by the New Generation Rehab

  Defendants through New Generation Rehab.

            174.   The New Generation Rehab Defendants’ extensive fraudulent conduct

  demonstrates a high degree of moral turpitude and wanton dishonesty that entitles GEICO to

  recover punitive damages.

            175.   Accordingly, by virtue of the foregoing, GEICO is entitled to compensatory and

  punitive damages, together with interest and costs, and any other relief the Court deems just and

  proper.

                                ELEVENTH CAUSE OF ACTION
                           Against the New Generation Rehab Defendants
                                        (Unjust Enrichment)

            176.   GEICO incorporates, as fully set forth herein, each and every allegation in

  paragraphs 1-96 above.

            177.   As set forth above, the New Generation Rehab Defendants have engaged in

  improper, unlawful, and/or unjust acts, all to the harm and detriment of GEICO.

            178.   When GEICO paid the bills and charges submitted or caused to be submitted by the

  New Generation Rehab Defendants through New Generation Rehab, it reasonably believed that it




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  was legally obligated to make such payments based on the New Generation Rehab Defendants’

  improper, unlawful, and/or unjust acts.

         179.    The New Generation Rehab Defendants have been enriched at GEICO’s expense

  by GEICO’s payments which constituted a benefit that the New Generation Rehab Defendants

  voluntarily accepted notwithstanding their improper, unlawful, and unjust billing scheme.

         180.    The New Generation Rehab Defendants’ retention of GEICO’s payments violates

  fundamental principles of justice, equity and good conscience.

         181.    By reason of the above, the New Generation Rehab Defendants have been unjustly

  enriched in an amount to be determined at trial, but in no event less than $386,000.00.

                                 TWELFTH CAUSE OF ACTION
                              Against Gutierrez Concepcion and Seco
                              (Violation of RICO, 18 U.S.C. § 1962(c))

         182.    GEICO incorporates, as though fully set forth herein, each and every allegation in

  paragraphs 1-96 above.

         183.    Premium Medical is an ongoing “enterprise,” as that term is defined in 18 U.S.C. §

  1961(4), that engages in activities that affected interstate commerce.

         184.    Gutierrez Concepcion and Seco knowingly have conducted and/or participated,

  directly or indirectly, in the conduct of Premium Medical’s affairs through a pattern of racketeering

  activity consisting of repeated violations of the federal mail fraud statute, 18 U.S.C. § 1341, based

  upon the use of the United States mails to submit or cause to be submitted thousands of fraudulent

  charges on a continuous basis for over one year seeking payments that Premium Medical was not

  eligible to receive under the No-Fault Law because: (i) Premium Medical unlawfully was operated

  in violation of the Clinic Act’s medical director and licensing requirements; (ii) the underlying

  Fraudulent Services were not lawfully provided or billed to GEICO; (iii) the underlying Fraudulent




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  Services were not medically necessary and were provided – to the extent that they were provided

  at all – pursuant to pre-determined fraudulent protocols designed solely to financially enrich the

  Premium Medical Defendants, rather than to treat or otherwise benefit the Insureds who

  purportedly were subjected to them; (iv) in many cases, the Fraudulent Services never were

  provided in the first instance; and (v) the billing codes used for the underlying Fraudulent Services

  misrepresented and exaggerated the level of services that purportedly were provided in order to

  inflate the charges submitted to GEICO.

         185.    A representative sample of the fraudulent bills and corresponding mailings

  submitted to GEICO that comprise, in part, the pattern of racketeering activity identified through

  the date of this Complaint are described, in part, in the chart annexed hereto as Exhibit “3”.

         186.    Premium Medical’s business is racketeering activity, inasmuch as the enterprise

  exists for the purpose of submitting fraudulent charges to insurers. The predicate acts of mail fraud

  are the regular way in which Gutierrez Concepcion and Seco operated Premium Medical,

  inasmuch as Premium Medical was not engaged in a legitimate health care practice, and acts of

  mail fraud therefore were essential in order for Premium Medical to function. Furthermore, the

  intricate planning required to carry out and conceal the predicate acts of mail fraud implies a threat

  of continued criminal activity, as does the fact that the Premium Medical Defendants continue to

  attempt collection on the fraudulent billing submitted through Premium Medical to the present

  day.

         187.    Premium Medical is engaged in inherently unlawful acts, inasmuch as it continues

  to submit and attempt collection on fraudulent billing submitted to GEICO and other insurers.

  These inherently unlawful acts are taken by Premium Medical in pursuit of inherently unlawful




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  goals – namely, the theft of money from GEICO and other insurers through fraudulent no-fault

  billing.

             188.   GEICO has been injured in its business and property by reason of the above-

  described conduct in that it has paid at least $179,000.00 pursuant to the fraudulent bills submitted

  through the Premium Medical enterprise.

             189.   By reason of its injury, GEICO is entitled to treble damages, costs, and reasonable

  attorneys’ fees pursuant to 18 U.S.C. § 1964(c), and any other relief the Court deems just and

  proper.

                               THIRTEENTH CAUSE OF ACTION
                         Against Gutierrez Concepcion, Seco, and Fernandez
                              (Violation of RICO, 18 U.S.C. § 1962(d))

             190.   GEICO incorporates, as though fully set forth herein, each and every allegation in

  paragraphs 1-96 above.

             191.   Premium Medical is an ongoing “enterprise,” as that term is defined in 18 U.S.C. §

  1961(4), that engages in activities that affected interstate commerce.

             192.   Gutierrez Concepcion, Seco, and Fernandez are or were employed by or associated

  with the Premium Medical enterprise.

             193.   Gutierrez Concepcion, Seco, and Fernandez knowingly have agreed, combined and

  conspired to conduct and/or participate, directly or indirectly, in the conduct of Premium Medical’s

  affairs through a pattern of racketeering activity consisting of repeated violations of the federal

  mail fraud statute, 18 U.S.C. § 1341, based upon the use of the United States mails to submit or

  cause to be submitted thousands of fraudulent charges on a continuous basis for over one year

  seeking payments that Premium Medical was not eligible to receive under the No-Fault Law

  because: (i) Premium Medical unlawfully was operated in violation of the Clinic Act’s medical




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  director and licensing requirements; (ii) the underlying Fraudulent Services were not lawfully

  provided or billed to GEICO; (iii) the underlying Fraudulent Services were not medically

  necessary and were provided – to the extent that they were provided at all – pursuant to pre-

  determined fraudulent protocols designed solely to financially enrich the Premium Medical

  Defendants, rather than to treat or otherwise benefit the Insureds who purportedly were subjected

  to them; (iv) in many cases, the Fraudulent Services never were provided in the first instance; and

  (v) the billing codes used for the underlying Fraudulent Services misrepresented and exaggerated

  the level of services that purportedly were provided in order to inflate the charges submitted to

  GEICO.

            194.   A representative sample of the fraudulent bills and corresponding mailings

  submitted to GEICO that comprise, in part, the pattern of racketeering activity identified through

  the date of this Complaint are described, in part, in the chart annexed hereto as Exhibit “3”. Each

  such mailing was made in furtherance of the mail fraud scheme.

            195.   Gutierrez Concepcion, Seco, and Fernandez knew of, agreed to and acted in

  furtherance of the common and overall objective (i.e., to defraud GEICO and other automobile

  insurers of money) by submitting or facilitating the submission of the fraudulent charges to

  GEICO.

            196.   GEICO has been injured in its business and property by reason of the above-

  described conduct in that it has paid at least $179,000.00 pursuant to the fraudulent bills submitted

  through the Premium Medical enterprise.

            197.   By reason of its injury, GEICO is entitled to treble damages, costs, and reasonable

  attorneys’ fees pursuant to 18 U.S.C. §1964(c), and any other relief the Court deems just and

  proper.




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                              FOURTEENTH CAUSE OF ACTION
                             Against the Premium Medical Defendants
                                 (Under Fla. Stat. 501.201 et. seq.)

         198.    GEICO incorporates, as though fully set forth herein, each and every allegation in

  paragraphs 1-96 above.

         199.    The Premium Medical Defendants are actively engaged in trade and commerce in

  the State of Florida.

         200.    GEICO and its Insureds are “consumers” as defined by Fla. Stat. 501.203.

         201.    The Premium Medical Defendants engaged in unfair, deceptive, and

  unconscionable acts or trade practices in their trade or commerce in the pursuit and execution of

  their scheme to illegally obtain PIP Benefits from GEICO.

         202.    The bills and supporting documents submitted or caused to be submitted by the

  Premium Medical Defendants to GEICO were fraudulent in that they misrepresented: (i) Premium

  Medical’s eligibility to collect PIP Benefits in the first instance; (ii) that the Fraudulent Services

  were lawfully provided and billed to GEICO; (iii) that the Fraudulent Services were medically

  necessary; and (iv) that the Fraudulent Services actually were performed in the first instance.

         203.    Such acts and practices offend public policy and are immoral, unethical, oppressive,

  and unscrupulous. Additionally, the conduct of the Premium Medical Defendants has been

  materially injurious to GEICO and its Insureds.

         204.    The conduct of the Premium Medical Defendants was the actual and proximate

  cause of the damages sustained by GEICO.

         205.    The Premium Medical Defendants’ unfair and deceptive acts have caused GEICO

  to sustain damages of at least $179,000.00.




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         206.    By reason of the Premium Medical Defendants’ conduct, GEICO is also entitled to

  recover costs and reasonable attorneys’ fees pursuant to Fla. Stat. 501.211(2).

                               FIFTEENTH CAUSE OF ACTION
                             Against the Premium Medical Defendants
                                      (Common Law Fraud)

         207.    GEICO incorporates, as though fully set forth herein, each and every allegation in

  paragraphs 1-96 above.

         208.    The Premium Medical Defendants intentionally and knowingly made false and

  fraudulent statements of material fact to GEICO and concealed material facts from GEICO in the

  course of submitting, or causing to be submitted, thousands of fraudulent charges through Premium

  Medical for the Fraudulent Services.

         209.    The false and fraudulent statements of material fact and acts of fraudulent

  concealment include: (i) in every claim, the representation that that Premium Medical was in

  compliance with the Clinic Act and eligible to collect PIP Benefits in the first instance, when in

  fact Premium Medical never was in compliance with the Clinic Act, and never was eligible to

  collect PIP Benefits, because it was operated without a legitimate medical director; (ii) in every

  claim, the representation that the Fraudulent Services were lawfully provided and eligible for PIP

  reimbursement, when in fact the Fraudulent Services were not lawfully provided, and were not

  eligible for PIP reimbursement; (iii) in every claim, the representation that the Fraudulent Services

  were medically necessary, when in fact they were not medically necessary; and (iv) in many

  claims, the representation that the Fraudulent Services actually were performed, when in many

  cases they were not actually performed.




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            210.   The Premium Medical Defendants intentionally made the above-described false

  and fraudulent statements and concealed material facts in a calculated effort to induce GEICO to

  pay charges submitted through Premium Medical that were not reimbursable.

            211.   GEICO justifiably relied on these false and fraudulent representations and acts of

  fraudulent concealment, and as a proximate result has been injured in its business and property by

  reason of the above-described conduct in that it has paid at least $179,000.00 pursuant to the

  fraudulent bills that were submitted or caused to be submitted by the Premium Medical Defendants

  through Premium Medical.

            212.   The Premium Medical Defendants’ extensive fraudulent conduct demonstrates a

  high degree of moral turpitude and wanton dishonesty that entitles GEICO to recover punitive

  damages.

            213.   Accordingly, by virtue of the foregoing, GEICO is entitled to compensatory and

  punitive damages, together with interest and costs, and any other relief the Court deems just and

  proper.

                                SIXTEENTH CAUSE OF ACTION
                              Against the Premium Medical Defendants
                                        (Unjust Enrichment)

            214.   GEICO incorporates, as fully set forth herein, each and every allegation in

  paragraphs 1-96 above.

            215.   As set forth above, the Premium Medical Defendants have engaged in improper,

  unlawful, and/or unjust acts, all to the harm and detriment of GEICO.

            216.   When GEICO paid the bills and charges submitted or caused to be submitted by the

  Premium Medical Defendants through Premium Medical, it reasonably believed that it was legally




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  obligated to make such payments based on the Premium Medical Defendants’ improper, unlawful,

  and/or unjust acts.

         217.    The Premium Medical Defendants have been enriched at GEICO’s expense by

  GEICO’s payments which constituted a benefit that the Premium Medical Defendants voluntarily

  accepted notwithstanding their improper, unlawful, and unjust billing scheme.

         218.    The Premium Medical Defendants’ retention of GEICO’s payments violates

  fundamental principles of justice, equity and good conscience.

         219.    By reason of the above, the Premium Medical Defendants have been unjustly

  enriched in an amount to be determined at trial, but in no event less than $179,000.00.


                              SEVENTEENTH CAUSE OF ACTION
                                 Against J.J. Gonzalez and Blasini
                              (Violation of RICO, 18 U.S.C. § 1962(c))

         220.    GEICO incorporates, as though fully set forth herein, each and every allegation in

  paragraphs 1-96 above.

         221.    Gonzalez’s Medical is an ongoing “enterprise,” as that term is defined in 18 U.S.C.

  § 1961(4), that engages in activities that affected interstate commerce.

         222.    J.J. Gonzalez and Blasini knowingly have conducted and/or participated, directly

  or indirectly, in the conduct of Gonzalez’s Medical’s affairs through a pattern of racketeering

  activity consisting of repeated violations of the federal mail fraud statute, 18 U.S.C. § 1341, based

  upon the use of the United States mails to submit or cause to be submitted thousands of fraudulent

  charges on a continuous basis for over six years seeking payments that Gonzalez’s Medical was

  not eligible to receive under the No-Fault Law because: (i) Gonzalez’s Medical unlawfully was

  operated in violation of the Clinic Act’s medical director and licensing requirements; (ii) the

  underlying Fraudulent Services were not lawfully provided or billed to GEICO; (iii) the underlying




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  Fraudulent Services were not medically necessary and were provided – to the extent that they were

  provided at all – pursuant to pre-determined fraudulent protocols designed solely to financially

  enrich the Gonzalez’s Medical Defendants, rather than to treat or otherwise benefit the Insureds

  who purportedly were subjected to them; (iv) in many cases, the Fraudulent Services never were

  provided in the first instance; and (v) the billing codes used for the underlying Fraudulent Services

  misrepresented and exaggerated the level of services that purportedly were provided in order to

  inflate the charges submitted to GEICO.

         223.    A representative sample of the fraudulent bills and corresponding mailings

  submitted to GEICO that comprise, in part, the pattern of racketeering activity identified through

  the date of this Complaint are described, in part, in the chart annexed hereto as Exhibit “4”.

         224.    Gonzalez’s Medical’s business is racketeering activity, inasmuch as the enterprise

  exists for the purpose of submitting fraudulent charges to insurers. The predicate acts of mail fraud

  are the regular way in which J.J. Gonzalez and Blasini operated Gonzalez’s Medical, inasmuch as

  Gonzalez’s Medical was not engaged in a legitimate health care practice, and acts of mail fraud

  therefore were essential in order for Gonzalez’s Medical to function. Furthermore, the intricate

  planning required to carry out and conceal the predicate acts of mail fraud implies a threat of

  continued criminal activity, as does the fact that the Gonzalez’s Medical Defendants continue to

  attempt collection on the fraudulent billing submitted through Gonzalez’s Medical to the present

  day.

         225.    Gonzalez’s Medical is engaged in inherently unlawful acts, inasmuch as it

  continues to submit and attempt collection on fraudulent billing submitted to GEICO and other

  insurers. These inherently unlawful acts are taken by Gonzalez’s Medical in pursuit of inherently




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  unlawful goals – namely, the theft of money from GEICO and other insurers through fraudulent

  no-fault billing.

            226.     GEICO has been injured in its business and property by reason of the above-

  described conduct in that it has paid at least $1,772,000.00 pursuant to the fraudulent bills

  submitted through the Gonzalez’s Medical enterprise.

            227.     By reason of its injury, GEICO is entitled to treble damages, costs, and reasonable

  attorneys’ fees pursuant to 18 U.S.C. § 1964(c), and any other relief the Court deems just and

  proper.

                                  EIGHTEENTH CAUSE OF ACTION
                   Against J.J. Gonzalez, Seco, Blasini, Zegarra, Delgado, and De Valle
                                 (Violation of RICO, 18 U.S.C. § 1962(d))

            228.     GEICO incorporates, as though fully set forth herein, each and every allegation in

  paragraphs 1-96 above.

            229.     Gonzalez’s Medical is an ongoing “enterprise,” as that term is defined in 18 U.S.C.

  § 1961(4), that engages in activities that affected interstate commerce.

            230.     J.J. Gonzalez, Seco, Blasini, Zegarra, Delgado, and De Valle are or were employed

  by or associated with the Gonzalez’s Medical enterprise.

            231.     J.J. Gonzalez, Seco, Blasini, Zegarra, Delgado, and De Valle knowingly have

  agreed, combined and conspired to conduct and/or participate, directly or indirectly, in the conduct

  of Gonzalez’s Medical’s affairs through a pattern of racketeering activity consisting of repeated

  violations of the federal mail fraud statute, 18 U.S.C. § 1341, based upon the use of the United

  States mails to submit or cause to be submitted thousands of fraudulent charges on a continuous

  basis for over six years seeking payments that Gonzalez’s Medical was not eligible to receive

  under the No-Fault Law because: (i) Gonzalez’s Medical unlawfully was operated in violation of




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  the Clinic Act’s medical director and licensing requirements; (ii) the underlying Fraudulent

  Services were not lawfully provided or billed to GEICO; (iii) the underlying Fraudulent Services

  were not medically necessary and were provided – to the extent that they were provided at all –

  pursuant to pre-determined fraudulent protocols designed solely to financially enrich the

  Gonzalez’s Medical Defendants, rather than to treat or otherwise benefit the Insureds who

  purportedly were subjected to them; (iv) in many cases, the Fraudulent Services never were

  provided in the first instance; and (v) the billing codes used for the underlying Fraudulent Services

  misrepresented and exaggerated the level of services that purportedly were provided in order to

  inflate the charges submitted to GEICO.

            232.   A representative sample of the fraudulent bills and corresponding mailings

  submitted to GEICO that comprise, in part, the pattern of racketeering activity identified through

  the date of this Complaint are described, in part, in the chart annexed hereto as Exhibit “4”. Each

  such mailing was made in furtherance of the mail fraud scheme.

            233.   J.J. Gonzalez, Seco, Blasini, Zegarra, Delgado, and De Valle knew of, agreed to

  and acted in furtherance of the common and overall objective (i.e., to defraud GEICO and other

  automobile insurers of money) by submitting or facilitating the submission of the fraudulent

  charges to GEICO.

            234.   GEICO has been injured in its business and property by reason of the above-

  described conduct in that it has paid at least $1,772,000.00 pursuant to the fraudulent bills

  submitted through the Gonzalez’s Medical enterprise.

            235.   By reason of its injury, GEICO is entitled to treble damages, costs, and reasonable

  attorneys’ fees pursuant to 18 U.S.C. §1964(c), and any other relief the Court deems just and

  proper.




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                               NINETEENTH CAUSE OF ACTION
                             Against the Gonzalez’s Medical Defendants
                                 (Under Fla. Stat. 501.201 et. seq.)

          236.    GEICO incorporates, as though fully set forth herein, each and every allegation in

  paragraphs 1-96 above.

          237.    The Gonzalez’s Medical Defendants are actively engaged in trade and commerce

  in the State of Florida.

          238.    GEICO and its Insureds are “consumers” as defined by Fla. Stat. 501.203.

          239.    The Gonzalez’s Medical Defendants engaged in unfair, deceptive, and

  unconscionable acts or trade practices in their trade or commerce in the pursuit and execution of

  their scheme to illegally obtain PIP Benefits from GEICO.

          240.    The bills and supporting documents submitted or caused to be submitted by the

  Gonzalez’s Medical Defendants to GEICO were fraudulent in that they misrepresented: (i)

  Gonzalez’s Medical’s eligibility to collect PIP Benefits in the first instance; (ii) that the Fraudulent

  Services were lawfully provided and billed to GEICO; (iii) that the Fraudulent Services were

  medically necessary; and (iv) that the Fraudulent Services actually were performed in the first

  instance.

          241.    Such acts and practices offend public policy and are immoral, unethical, oppressive,

  and unscrupulous. Additionally, the conduct of the Gonzalez’s Medical Defendants has been

  materially injurious to GEICO and its Insureds.

          242.    The conduct of the Gonzalez’s Medical Defendants was the actual and proximate

  cause of the damages sustained by GEICO.

          243.    The Gonzalez’s Medical Defendants’ unfair and deceptive acts have caused GEICO

  to sustain damages of at least $1,772,000.00.




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         244.    By reason of the Gonzalez’s Medical Defendants’ conduct, GEICO is also entitled

  to recover costs and reasonable attorneys’ fees pursuant to Fla. Stat. 501.211(2).

                              TWENTIETH CAUSE OF ACTION
                            Against the Gonzalez’s Medical Defendants
                                      (Common Law Fraud)

         245.    GEICO incorporates, as though fully set forth herein, each and every allegation in

  paragraphs 1-96 above.

         246.    The Gonzalez’s Medical Defendants intentionally and knowingly made false and

  fraudulent statements of material fact to GEICO and concealed material facts from GEICO in the

  course of submitting, or causing to be submitted, thousands of fraudulent charges through

  Gonzalez’s Medical for the Fraudulent Services.

         247.    The false and fraudulent statements of material fact and acts of fraudulent

  concealment include: (i) in every claim, the representation that that Gonzalez’s Medical was in

  compliance with the Clinic Act and eligible to collect PIP Benefits in the first instance, when in

  fact Gonzalez’s Medical never was in compliance with the Clinic Act, and never was eligible to

  collect PIP Benefits, because it was operated without a legitimate medical director; (ii) in every

  claim, the representation that the Fraudulent Services were lawfully provided and eligible for PIP

  reimbursement, when in fact the Fraudulent Services were not lawfully provided, and were not

  eligible for PIP reimbursement; (iii) in every claim, the representation that the Fraudulent Services

  were medically necessary, when in fact they were not medically necessary; and (iv) in many

  claims, the representation that the Fraudulent Services actually were performed, when in many

  cases they were not actually performed.




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            248.   The Gonzalez’s Medical Defendants intentionally made the above-described false

  and fraudulent statements and concealed material facts in a calculated effort to induce GEICO to

  pay charges submitted through Gonzalez’s Medical that were not reimbursable.

            249.   GEICO justifiably relied on these false and fraudulent representations and acts of

  fraudulent concealment, and as a proximate result has been injured in its business and property by

  reason of the above-described conduct in that it has paid at least $1,772,000.00 pursuant to the

  fraudulent bills that were submitted or caused to be submitted by the Gonzalez’s Medical

  Defendants through Gonzalez’s Medical.

            250.   The Gonzalez’s Medical Defendants’ extensive fraudulent conduct demonstrates a

  high degree of moral turpitude and wanton dishonesty that entitles GEICO to recover punitive

  damages.

            251.   Accordingly, by virtue of the foregoing, GEICO is entitled to compensatory and

  punitive damages, together with interest and costs, and any other relief the Court deems just and

  proper.

                              TWENTY-FIRST CAUSE OF ACTION
                             Against the Gonzalez’s Medical Defendants
                                        (Unjust Enrichment)

            252.   GEICO incorporates, as fully set forth herein, each and every allegation in

  paragraphs 1-96 above.

            253.   As set forth above, the Gonzalez’s Medical Defendants have engaged in improper,

  unlawful, and/or unjust acts, all to the harm and detriment of GEICO.

            254.   When GEICO paid the bills and charges submitted or caused to be submitted by the

  Gonzalez’s Medical Defendants through Gonzalez’s Medical, it reasonably believed that it was




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  legally obligated to make such payments based on the Gonzalez’s Medical Defendants’ improper,

  unlawful, and/or unjust acts.

         255.    The Gonzalez’s Medical Defendants have been enriched at GEICO’s expense by

  GEICO’s payments which constituted a benefit that the Gonzalez’s Medical Defendants

  voluntarily accepted notwithstanding their improper, unlawful, and unjust billing scheme.

         256.    The Gonzalez’s Medical Defendants’ retention of GEICO’s payments violates

  fundamental principles of justice, equity and good conscience.

         257.    By reason of the above, the Gonzalez’s Medical Defendants have been unjustly

  enriched in an amount to be determined at trial, but in no event less than $1,772,000.00.

                                          JURY DEMAND

         258.    Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiffs demand a trial by jury.

          WHEREFORE, Plaintiffs Government Employees Insurance Co., GEICO Indemnity

  Co., GEICO General Insurance Company and GEICO Casualty Co. demand that a Judgment be

  entered in their favor:

         A.      On the First Cause of Action against Med-Union Medical, New Generation Rehab,

  Premium Medical, and Gonzalez’s Medical, for a declaration pursuant to the Declaratory

  Judgment Act, 28 U.S.C. §§ 2201 and 2202, that Med-Union Medical, New Generation Rehab,

  Premium Medical, and Gonzalez’s Medical have no right to receive payment for any pending bills

  submitted to GEICO;

         B.      On the Second Cause of Action against J.A. Gonzalez, Amigo, Cabrera, Angarica,

  and Seco, compensatory damages in favor of GEICO in an amount to be determined at trial but in

  excess of $1,676,000.00 together with treble damages, costs, and reasonable attorneys’ fees

  pursuant to 18 U.S.C. § 1964(c) plus interest;




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            C.   On the Third Cause of Action against J.A. Gonzalez, Amigo, Cabrera, Angarica,

  Seco, Pelaez, and Trigoura, compensatory damages in favor of GEICO in an amount to be

  determined at trial but in excess of $1,676,000.00, together with treble damages, costs, and

  reasonable attorneys’ fees pursuant to 18 U.S.C. § 1964(c) plus interest;

            D.   On the Fourth Cause of Action against Med-Union Medical, J.A. Gonzalez, Amigo,

  Cabrera, Angarica, Seco, Pelaez, and Trigoura, compensatory damages in an amount to be

  determined at trial but in excess of $1,676,000.00, together with costs and reasonable attorneys’

  fees pursuant to Fla. Stat. 501.211(2);

            E.   On the Fifth Cause of Action against Med-Union Medical, J.A. Gonzalez, Amigo,

  Cabrera, Angarica, Seco, Pelaez, and Trigoura, compensatory damages in an amount to be

  determined at trial but in excess of $1,676,000.00, together with punitive damages, costs, interest

  and such other and further relief as this Court deems just and proper;

            F.   On the Sixth Cause of Action against Med-Union Medical, J.A. Gonzalez, Amigo,

  Cabrera, Angarica, Seco, Pelaez, and Trigoura, more than $1,676,000.00 in compensatory

  damages, plus costs and interest and such other and further relief as this Court deems just and

  proper;

            G.   On the Seventh Cause of Action against Abreu and Seco, compensatory damages

  in favor of GEICO in an amount to be determined at trial but in excess of $386,000.00 together

  with treble damages, costs, and reasonable attorneys’ fees pursuant to 18 U.S.C. § 1964(c) plus

  interest;

            H.   On the Eighth Cause of Action against Abreu, Seco, and Leiva, compensatory

  damages in favor of GEICO in an amount to be determined at trial but in excess of $386,000.00,




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  together with treble damages, costs, and reasonable attorneys’ fees pursuant to 18 U.S.C. § 1964(c)

  plus interest;

          I.       On the Ninth Cause of Action against New Generation Rehab, Abreu, Seco, and

  Leiva, compensatory damages in an amount to be determined at trial but in excess of $386,000.00,

  together with costs and reasonable attorneys’ fees pursuant to Fla. Stat. 501.211(2);

          J.       On the Tenth Cause of Action against New Generation Rehab, Abreu, Seco, and

  Leiva, compensatory damages in an amount to be determined at trial but in excess of $386,000.00,

  together with punitive damages, costs, interest and such other and further relief as this Court deems

  just and proper;

          K.       On the Eleventh Cause of Action against New Generation Rehab, Abreu, Seco, and

  Leiva, more than $386,000.00 in compensatory damages, plus costs and interest and such other

  and further relief as this Court deems just and proper;

          L.       On the Twelfth Cause of Action against Gutierrez Concepcion and Seco,

  compensatory damages in favor of GEICO in an amount to be determined at trial but in excess of

  $179,000.00, together with treble damages, costs, and reasonable attorneys’ fees pursuant to 18

  U.S.C. § 1964(c) plus interest;

          M.       On the Thirteenth Cause of Action against Gutierrez Concepcion, Seco, and

  Fernandez, compensatory damages in favor of GEICO in an amount to be determined at trial but

  in excess of $179,000.00, together with treble damages, costs, and reasonable attorneys’ fees

  pursuant to 18 U.S.C. § 1964(c) plus interest;

          N.       On the Fourteenth Cause of Action against Premium Medical, Gutierrez

  Concepcion, Seco, and Fernandez, compensatory damages in an amount to be determined at trial




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  but in excess of $179,000.00, together with costs and reasonable attorneys’ fees pursuant to Fla.

  Stat. 501.211(2);

         O.      On the Fifteenth Cause of Action against Premium Medical, Gutierrez Concepcion,

  Seco, and Fernandez, compensatory damages in an amount to be determined at trial but in excess

  of $179,000.00, together with punitive damages, costs, interest and such other and further relief as

  this Court deems just and proper;

         P.      On the Sixteenth Cause of Action against Premium Medical, Gutierrez Concepcion,

  Seco, and Fernandez, more than $179,000.00 in compensatory damages, plus costs and interest

  and such other and further relief as this Court deems just and proper;

         Q.      On the Seventeenth Cause of Action against J.J. Gonzalez and Blasini,

  compensatory damages in favor of GEICO in an amount to be determined at trial but in excess of

  $1,772,000.00, together with treble damages, costs, and reasonable attorneys’ fees pursuant to 18

  U.S.C. § 1964(c) plus interest;

         R.      On the Eighteenth Cause of Action against J.J. Gonzalez, Seco, Blasini, Zegarra,

  Delgado, and De Valle, compensatory damages in favor of GEICO in an amount to be determined

  at trial but in excess of $1,772,000.00, together with treble damages, costs, and reasonable

  attorneys’ fees pursuant to 18 U.S.C. § 1964(c) plus interest;

         S.      On the Nineteenth Cause of Action against Gonzalez’s Medical, J.J. Gonzalez,

  Seco, Blasini, Zegarra, Delgado, and De Valle, compensatory damages in an amount to be

  determined at trial but in excess of $1,772,000.00, together with costs and reasonable attorneys’

  fees pursuant to Fla. Stat. 501.211(2);

         T.      On the Twentieth Cause of Action against Gonzalez’s Medical, J.J. Gonzalez, Seco,

  Blasini, Zegarra, Delgado, and De Valle, compensatory damages in an amount to be determined




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  at trial but in excess of $1,772,000.00, together with punitive damages, costs, interest and such

  other and further relief as this Court deems just and proper; and

            U.   On the Twenty-First Cause of Action against Gonzalez’s Medical, J.J. Gonzalez,

  Seco, Blasini, Zegarra, Delgado, and De Valle, more than $1,772,000.00 in compensatory

  damages, plus costs and interest and such other and further relief as this Court deems just and

  proper.

  Dated:         November 29, 2021


                                                /s/ John P. Marino
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